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IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
IN AND FOR PINELLAS COUNTY, FLORIDA
CIVIL DIVISION

KELLY MCMILLEN,
an individual, Case No.:

Plaintiff,
Vv.

WELLS FARGO BANK, N.A.,
a national association,

Defendant.
/

 

VERIFIED COMPLAINT

COMES NOW, Plaintiff, KELLY MCMILLEN (hereinafter, Plaintiff’), by and through
the undersigned counsel, and hereby sues Defendant, WELLS FARGO BANK, N.A. (hereinafter,
‘“Defendant”). In support thereof, Plaintiff states:

INTRODUCTION AND PRELIMINARY STATEMENT

This is an action for damages brought by an individual consumer for Defendant’s violations
of the Florida Consumer Collection Practices Act, Chapter 559, Florida Statutes (hereinafter, the
“FCCPA”) and the Telephone Consumer Protection Act, 47 United States Code, Section 227
(hereinafter, the “TCPA”), wherein Defendant repeatedly communicated directly with Plaintiff in
an attempt to collect consumer debts despite Defendant possessing actual knowledge of Plaintiff's
legal counsel with respect to such debts as well as possessing said legal counsel’s contact
information. Defendant also repeatedly made telephone calls to Plaintiff's cellular telephone using
an automatic telephone dialing system, predictive telephone dialing system, and/or an artificial or

pre-recorded voice despite Defendant lacking Plaintiff's prior express consent to make such calls.

JURISDICTION AND VENUE
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1. Jurisdiction and venue for purposes of this action are conferred by Florida Statutes,

Section 559.77 and 47 United States Code, Section 227(b)(3).

2. This is an action for damages that exceeds $15,000.00, exclusive of attorney’s fees
and costs.
3. At all material times herein, Defendant’s conduct, complained of below, occurs in

Pinellas County, Florida.

4. At all material times herein, Plaintiff is an individual residing in Pinellas County,
Florida.

5. At all material times herein, Defendant is a national association with its principal
place of business located at 420 Montgomery Street, San Francisco, California 94163.

FCCPA STATUTORY STRUCTURE

6. The FCCPA is a state consumer protection statute, modeled after the Federal Fair
Debt Collection Practices Act, 15 United States Code, Section 1692, a statute designed to prohibit
unfair, deceptive, and abusive practices in the collection of consumer debts as well as to protect
against the invasion of individual privacy. 15 U.S.C. §§ 1692(a) and (e); Fla. Stat. §§ 559.55 and
559.77(5).

7. The FCCPA imposes civil liability on a creditor that “offers or extends credit
creating a debt or to whom a debt is owed...” and prohibits any person from engaging in particular
conduct in connection with collecting consumer debts. Fla. Stat. § 559.55(5).

8. Specifically, the FCCPA prohibits unlawful debt collection “communications” with
consumer debtors, which is defined as “the conveying of information regarding a debt directly or
indirectly to any person through any medium.” Fla. Stat. § 559.55(2) (emphasis added).

9. For example, the FCCPA prohibits a person from collecting consumer debt by
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communicating with the consumer in a manner that can be expected to harass or abuse the
consumer debtor, and also prohibits a person from communicating directly with a consumer known
to be represented by legal counsel in an attempt to collect consumer debt when such person
possesses said legal counsel’s contact information. See Fla. Stat. §§ 559.72(7) and (18).

TCPA STATUTORY STRUCTURE

10. Congress enacted the TCPA in an effort to restrict pervasive use of automated or
prerecorded telephone calls that invade consumers’ personal privacy. Pub L. 102-243, § 2, Dec.
20, 1991, 105 Sta. 2394 (1), (5), and (10).

Il. Congress intended to prevent automated or pre-recorded telephone calls as “the
only effective means of protecting telephone consumers from this nuisance and privacy invasion.”
Id. at §§ (5) and (12).

12. Under the TCPA, any person who initiates calls to any number assigned to a cellular
telephone service using any automated telephone dialing system or artificial or prerecorded voice
without the recipient’s prior express consent is liable to the recipient for actual monetary loss, or
up to $500.00 in damages for each violation of the TCPA, whichever is greater. 47 U.S.C. §
227(b)(3)(B).

13. Under the TCPA, the court may increase the damage award up to three (3) times,
or up to $1,500.00, for each willful or knowing violation of the TCPA. Jd at § 227(b)(3)(C).

14. Furthermore, the Restrictions on Use of Telephone Provision, 47, United States
Code, Section 227(b)(1) prohibits any person:

(A)To make any call (other than a call made for emergency purposes
or made with the prior express consent of the called party) using
any automatic telephone dialing system or an artificial
prerecorded voice — (ili) to any telephone number assigned to a

paging service, cellular telephone service, ... or any service for
which the called party is charged for the call.
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15. Additionally, Plaintiff alleges that Defendant continued to call her cellular
telephone using an automatic telephone dialing system (hereinafter, “ATDS”), a predictive
telephone dialing system (hereinafter, “PTDS”), and/or an artificial or pre-recorded voice
(hereinafter, “APV’’) in violation of the FCC Rule, 47 C.F.R. Section 64.1200(a)(1).

16. One of the regulations prescribed under the TCPA is the Federal Communications
Commission (“FCC”)’s rule, 47 C.F.R Section 64.1200 (“FCC Rule”), that implements the TCPA.
The FCC originally promulgated the FCC Rule in 1992, since which time it has subsequently been
amended as telecommunications technology has changed.

17. In its current state, the FCC Rule, 47 C.F.R. § 64.1200, provides, in relevant part,
that:

(a) No person or entity may:

(1) Except as provided in paragraph (a)(2) of this section, initiate
any telephone call (other than a call made for emergency purposes
or is made with the prior express consent of the called party) using

an automatic telephone dialing system or an artificial or prerecorded
voice;

(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call.

GENERAL ALLEGATIONS

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18. At all material times herein, Defendant is a “creditor” as defined by Florida
Statutes, Section 559.55(5).
19. At all material times herein, Plaintiff is a “debtor” or “consumer” as defined by

Florida Statutes, Section 559.55(8).

20. At all material times herein, Defendant attempts to collect debts, alleged balances
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due on a consumer lines of credit, specifically, a Dillard’s branded credit card referenced by
account number ending in -2070 (hereinafter, “Dillard’s Debt”), a Visa credit card referenced by
account number ending in -2480 (hereinafter, “Visa Debt”), a personal installment loan account
referenced by account number ending in -9440 and/or 0001 (hereinafter, “Installment Debt’), and
an overdraft balance for a depository account referenced by account number ending in -6441
(hereinafter, “Deposit Account Debt”) (hereinafter collectively, the “Debt”).

21. At all material times herein, the Debt is consumer debt, obligations resulting from
transactions for goods or services and incurred primarily for personal, household, or family use.

22. At all material times herein, Defendant is a “person” subject to Florida Statutes,
Section 559.72. See Fla. Stat. §§ 559.55(5), (7); Schauer vy. General Motors Acceptance Corp.,
819 So. 2d 809 (Fla. 4th DCA 2002).

23. At all material times herein, Defendant’s conduct with respect to the Debt
complained of below qualifies as “communication” as defined by Florida Statutes,
Section 559.55(2).

24. Atall material times herein, Defendant acted itself or through its agents, employees,
officers, members, directors, successors, assigns, principals, trustees, sureties, subrogees,
representatives, third-party vendors, and insurers.

25. All necessary conditions precedent to the filing of this action occurred or
Defendants waived or excused the same.

FACTUAL ALLEGATIONS

26. Defendant made telephone calls, as more specifically alleged below, to Plaintiff's

cellular telephone number 727-XX X-5658 (hereinafter, “Cellular Telephone”) using an automatic

telephone dialing system (hereinafter, “ATDS”), a predictive telephone dialing system
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(hereinafter, “PTDS”), and/or an artificial or pre-recorded voice (hereinafter, ““APV”).

27. Plaintiff is the possessor, controller, and regular user of a cellular telephone with
assigned telephone number 727-XXX-5658 (i.e., Plaintiff's Cellular Telephone).

28. At no time herein did Defendant possess Plaintiff's prior express consent to call
Plaintiff's Cellular Telephone using an ATDS, a PTDS, and/or an APV.

29. Further, if Defendant contends it did possess such consent at one point in time,
Plaintiff nonetheless repeatedly revoked any alleged prior existing consent each time Plaintiff
demanded that Defendant cease calling Plaintiff's Cellular Telephone and repeatedly revoked any
alleged prior express consent each time Plaintiff advised Defendant that she was represented by
an attorney with respect to the Debt and provided Defendant with said attorney’s contact
information.

30. Additionally, if Defendant contends the below-referenced phone calls were made
for “informational purposes only,” Defendant nevertheless lacked the required prior express
written consent necessary to place such informational calls to Plaintiff's Cellular Telephone using
an ATDS, a PTDS, and/or an APV.

31. On or about September 9, 2019, Plaintiff retained Leavengood, Dauval & Boyle,
P.A., d/b/a LeavenLaw (hereinafter, ‘““Undersigned Counsel”) with respect to her debts generally,
including the Debt allegedly owed to Defendant.

32. On or about September 30, 2019, Undersigned Counsel sent Defendant two (2)
facsimile transmissions (i.e., faxes) and one (1) electronic mail transmission (i.e., e-mails)
(hereinafter collectively, “First Notices of Representation”). Please see a true and correct copy of
the First Notices of Representation and corresponding delivery confirmation sheets labeled as

Exhibit “A.”
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33. Defendant received the First Notices of Representation. See Ex. A.

34. The First Notices of Representation provided Defendant with actual knowledge of
Undersigned Counsel’s representation of Plaintiff with respect to the Debt, provided Defendant
with actual knowledge of Undersigned Counsel’s contact information, and advised Defendant that
any further communications regarding the Debt should be sent to Undersigned Counsel’s office.
See Ex. “A.”

35. | Moreover, the First Notices of Representation explicitly revoked any purported
prior express consent permitting Defendant to make telephone calls to Plaintiffs Cellular
Telephone using ATDS, PTDS and/or APV. See Ex. “A.”

36. On or about September 30, 2019, Undersigned Counsel sent Defendant two (2)
additional electronic mail transmissions (i.e., e-mails) and also sent a letter to Defendant via
certified mail (hereinafter collectively, “Second Notices of Representation”). Please see a true and
correct copy of the Second Notices of Representation and corresponding delivery confirmation
sheets labeled as Exhibit “B.”

37. Defendant received the Second Notices of Representation. See Ex. B.

38. The Second Notices of Representation again provided Defendant with actual
knowledge of Undersigned Counsel’s representation of Plaintiff with respect to the Debt, again
provided Defendant with actual knowledge of Undersigned Counsel’s contact information, and
again advised Defendant that any further communications regarding the Debt should be sent to
Undersigned Counsel’s office. See Ex. “B.”

39. | Moreover, the Second Notices of Representation again explicitly revoked any
purported prior express consent permitting Defendant to make telephone calls to Plaintiff's

Cellular Telephone using ATDS, PTDS and/or APV. See Ex. “B.”
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40. On or about September 30, 2019, at approximately 4:54 p.m. ET, Defendant sent
an e-mail to Undersigned Counsel in response to the Second Notices of Representation confirming
receipt of the Second Notices of Representation. Please see attached a true and correct copy of
said e-mail labeled as Exhibit ““C.”

4}. On or about September 30, 2019, at approximately 4:56 p.m. ET, Defendant sent a
second e-mail to Undersigned Counsel in response to the Second Notices of Representation
confirming receipt of the Second Notices of Representation. Please see attached a true and correct
copy of said e-mail labeled as Exhibit “D.”

42. On or about October 1, 2019, Defendant sent a facsimile message to Undersigned
Counsel, confirming that Defendant received the First Notices of Representation and/or the Second
Notices of Representation, and demanding payment on the Installment Debt. Please see attached
a true and correct copy of said facsimile message labeled as Exhibit “E.”

43. On or about October 1, 2019, Defendant sent a letter directly to Undersigned
Counsel’s office confirming that Defendant received the First Notices of Representation and/or
the Second Notices of Representation. Please see attached a true and correct copy of said letter
labeled as Exhibit “F.”

44. On or about October 1, 2019, Defendant sent a letter directly to Plaintiff confirming
that Defendant received the First Notices of Representation and/or the Second Notices of
Representation. Please see attached a true and correct copy of said letter labeled as Exhibit “G.”

45. On or about October 1, 2019, Defendant sent an e-mail directly to Plaintiff advising
that Plaintiff's depository account dropped below zero dollars ($0.00). Please see attached a true
and correct copy of said e-mail labeled as Exhibit “H.”

46. Despite Defendant possessing actual knowledge of Undersigned Counsel’s legal
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representation of Plaintiff with respect to the Debt and despite Defendant possessing Undersigned
Counsel’s contact information—and repeatedly verifying the same—Defendant continued to
communicate directly with Plaintiff, as further detailed below, and made such communications in
an attempt to collect the Debt directly from Plaintiff.

47. Moreover, Defendant made each of the below-referenced calls to Plaintiff's
Cellular Telephone using an ATDS, PTDS and/or APV despite lacking Plaintiffs prior express
consent to do so.

48. On or about October 1, 2019, Defendant called Plaintiffs Cellular Telephone ar
least two (2) times using an ATDS, PTDS, and/or APV.

49. Defendant made the immediately-aforementioned telephone calls from telephone
number 855.515.5489 in an attempt to collect the Dillard’s Debt directly from Plaintiff.

50. Following Defendant’s calls on October 1, 2019, Defendant left messages using an
artificial or pre-recorded voice requesting that Plaintiff return the call.

SI. On or about October 2, 2019, Defendant called Plaintiff's Cellular Telephone af
least two (2) times using an ATDS, PTDS, and/or APV.

52. Defendant made the immediately-aforementioned telephone calls from telephone
number 855.515.5489 in an attempt to collect the Dillard’s Debt directly from Plaintiff.

53. Following Defendant’s calls on October 2, 2019, Defendant left messages using an
artificial or pre-recorded voice requesting that Plaintiff return the call.

54. On or about October 3, 2019, Defendant sent a letter directly to Plaintiff confirming
that Defendant received the First Notices of Representation and/or the Second Notices of
Representation. Please see attached a true and correct copy of said letter labeled as Exhibit “I.”

55. On or about October 3, 2019, Defendant called Plaintiff's Cellular Telephone at
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least two (2) times using an ATDS, PTDS, and/or APV.

56. Defendant made the immediately-aforementioned telephone calls from telephone
number 855.515.5489 in an attempt to collect the Dillard’s Debt directly from Plaintiff.

57. Following Defendant’s calls on October 3, 2019, Defendant left messages using an
artificial or pre-recorded voice requesting that Plaintiff return the call.

58. On or about October 4, 2019, Defendant sent a collection letter directly to Plaintiff
in an attempt to collect the Visa Debt. Please see attached a true and correct copy of said collection
letter labeled as Exhibit “J.”

59. On or about October 3, 2019, Defendant called Plaintiffs Cellular Telephone at
least two (2) times using an ATDS, PTDS, and/or APV.

60. Defendant made the immediately-aforementioned telephone calls from telephone
number 855.515.5489 in an attempt to collect the Dillard’s Debt directly from Plaintiff.

61. Following Defendant’s calls on October 3, 2019, Defendant left messages using an
artificial or pre-recorded voice requesting that Plaintiff return the call.

62. On or about October 5, 2019, Defendant called Plaintiff's Cellular Telephone at
least three (3) times using an ATDS, PTDS, and/or APV.

63. | Defendant made the immediately-aforementioned telephone calls from telephone
number 855.515.5489 in an attempt to collect the Dillard’s Debt directly from Plaintiff.

64. Plaintiff answered at least one (1) of Defendant’s calls on October 5, 2019, again
advised Defendant that Plaintiff retained Undersigned Counsel with respect to the Debt, again
provided Undersigned Counsel’s contact information, and again demanded that Defendant cease
communicating directly with Plaintiff regarding the Debt.

65. On or about October 7, 2019, Undersigned Counsel, again sent Defendant two (2)

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additional electronic mail transmissions (i.e., e-mails) and also sent another letter to Defendant via
certified mail (hereinafter, “Third Notices of Representation”). Please see a true and correct copy
of the Third Notices of Representation and corresponding delivery confirmation sheets labeled as
Exhibit “K.”

66. Defendant received the Third Notices of Representation. See Ex. K.

67. The Third Notices of Representation again provided Defendant with actual
knowledge of Undersigned Counsel’s representation of Plaintiff with respect to the Debt, again
provided Defendant with actual knowledge of Undersigned Counsel’s contact information, and
again advised Defendant that any further communications regarding the Debt should be sent to
Undersigned Counsel’s office. See Ex. “K.”

68. | Moreover, the Third Notices of Representation again explicitly revoked any
purported prior express consent permitting Defendant to make telephone calls to Plaintiffs
Cellular Telephone using ATDS, PTDS and/or APV. See Ex. “K.”

69. On or about October 7, 2019, Defendant sent a collection letter directly to Plaintiff
in an attempt to collect the Dillard’s Debt. Please see attached a true and correct copy of said
collection letter labeled as Exhibit “L.”

70. On or about October 8, 2019, Defendant sent an e-mail directly to Plaintiff in an
attempt to collect the Visa Debt. Please see attached a true and correct copy of said e-mail labeled
as Exhibit “M.”

71. On or about October 16, 2019, Defendant sent an e-mail directly to Plaintiff in an
attempt to collect the Deposit Account Debt. Please see attached a true and correct copy of said
e-mail labeled as Exhibit “N.”

72. On or about October 21, 2019, Defendant sent an e-mail directly to Plaintiff

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advising that Plaintiff's depository account dropped below zero dollars ($0.00). Please see
attached a true and correct copy of said e-mail labeled as Exhibit “O.”

73. On or about October 22, 2019, Defendant sent an e-mail directly to Plaintiff
advising that Plaintiff's depository account dropped below zero dollars ($0.00). Please see
attached a true and correct copy of said e-mail labeled as Exhibit “P.”

7A. On or about October 22, 2019, Defendant sent an e-mail directly to Plaintiff in an
attempt to collect the Deposit Account Debt. Please see attached a true and correct copy of said
e-mail labeled as Exhibit “Q.”

75. On or about October 22, 2019, Defendant sent a collection letter directly to Plaintiff
in an attempt to collect the Visa Debt. Please see attached a true and correct copy of said collection
letter labeled as Exhibit “R.”

76. On or about October 22, 2019, Defendant sent a billing statement directly to
Plaintiff in an attempt to collect the Visa Debt. Please see attached a true and correct copy of said
billing statement labeled as Exhibit “S.”

77. More specifically, Defendant’s immediately-aforementioned billing statement
included a message stating “PAST DUE...THIS IS AN ATTEMPT TO COLLECT A DEBT AND
ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.” See Ex. S.

78. On or about October 23, 2019, Defendant sent a collection letter directly to Plaintiff
in an attempt to collect the Dillard’s Debt. Please see attached a true and correct copy of said
collection letter labeled as Exhibit “T.”

79. On or about October 23, 2019, Defendant sent a billing statement directly to
Plaintiff in an attempt to collect the Dillard’s Debt. Please see attached a true and correct copy of

said billing statement labeled as Exhibit “U.”
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80. More specifically, Defendant’s immediately-aforementioned billing statement
included a message stating “WE HAVE NOT RECEIVED YOUR PAYMENT...THIS IS AN
ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION OBTAINED WILL BE USED
FOR THAT PURPOSE.” See Ex. U.

81. On or about October 25, 2019, Defendant sent an e-mail directly to Plaintiff
advising that Plaintiff's depository account dropped below zero dollars ($0.00). Please see
attached a true and correct copy of said e-mail labeled as Exhibit “V.”

82. On or about October 25, 2019, Defendant sent an e-mail directly to Plaintiff in an
attempt to collect the Deposit Account Debt. Please see attached a true and correct copy of said
e-mail labeled as Exhibit “W.” |

83. On or about November |, 2019, Defendant sent an e-mail directly to Plaintiff
advising that Plaintiff's depository account dropped below zero dollars ($0.00). Please see
attached a true and correct copy of said e-mail labeled as Exhibit “X.”

84. On or about November |, 2019, Defendant sent an e-mail directly to Plaintiff in an
attempt to collect the Deposit Account Debt. Please see attached a true and correct copy of said
e-mail labeled as Exhibit “Y.”

85. On or about November 7, 2019, Defendant sent a letter to Undersigned Counsel’s
office advising that Defendant closed the Visa Debt account as a result of an overdue balance.
Please see attached a true and correct copy of said letter labeled as Exhibit “Z.”

86. On or about November 1! 6, 2019, sent an e-mail directly to Plaintiff in an attempt
to collect the Deposit Account Debt. Please see attached a true and correct copy of said e-mail
labeled as Exhibit “AA.”

87. As a direct result of Defendant’s actions, Plaintiff suffered emotional distress,
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anxiety, inconvenience, frustration, annoyance, and confusion, believing that retaining
Undersigned Counsel with respect to the Debt and advising Defendant of the same was wholly
ineffective, and that Defendant’s frequent, repeated, and invasive Debt collection attempts would
simply have to be endured or the Debt paid, despite seeking assistance to file for bankruptcy
protection in the future.

88. It is Defendant’s corporate policy to use an ATDS, a PTDS and/or an APV when
attempting to collect consumer debts, including the Debt (hereinafter, “Corporate Policy”).

89. Defendant employed its Corporate Policy of using an ATDS, a PTDS and/or an
APV when Defendant made the telephone calls to Plaintiff's Cellular Telephone in this case.

90. Defendant made the telephone calls to Plaintiffs Cellular Telephone with no
effective way for Plaintiff to remove her Cellular Telephone number from Defendant’s telephone
dialing system.

91. Defendant made calls, or caused calls to be made, to Plaintiff with no effective way
for Defendant to remove Plaintiff's Cellular Telephone number from Defendant’s telephone
dialing system.

92. Defendant’s Corporate Policy provides no effective way for a consumer to
effectively revoke any prior existing consent to be called by Defendant using an ATDS, PTDS
and/or APV to make Defendant cease calling a cellular telephone.

93. Defendant’s Corporate Policy and procedures are structured as to continue to call
individuals like Plaintiff using an ATDS, a PTDS, or an APV, regardless of how many times said
individuals request that Defendant cease calling a cellular telephone regarding a debt allegedly
owed to Defendant.

94, Upon information and belief, Defendant engaged in a pattern and practice of
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unlawful debt collection and invasion of privacy, repeatedly and willfully calling consumers’
cellular telephones in an attempt to collect debts, using an ATDS, a PTDS and/or an APV despite
lacking consumers’ prior express consent to do so.

95. Defendant willfully, knowingly, and repeatedly undertakes these practices to
increase revenue and profitability at the direct expense of consumers’ livelihoods and privacy.

96. Plaintiff has not been able, due to both professional and personal commitments, as
well as the continued and increasing stress associated with the continued barrage of Debt collection
communications, to record the specifics (as done above) on each and every communication
Defendant made to Plaintiff. Plaintiff asserts, however, that the above-referenced telephone calls,
letters, billing statements, and e-mails are but a sub-set of the communications Defendant made in
violation of the FCCPA and TCPA. Further, Defendant is in the best position to determine and
ascertain the number and methodology of Debt collection communications made to Plaintiff.

97. Plaintiff retained Undersigned Counsel for the purpose of pursuing this matter
against Defendant, and Plaintiff is obligated to pay her attorneys a reasonable fee for their services.

98. Despite having repeatedly advised Defendant of Undersigned Counsel’s -
representation of Plaintiff with respect to the Debt, Defendant continues to attempt to collect the
Debt directly from Plaintiff in violation of the FCCPA.

99. Defendant’s conduct, as described above, is a knowing, willful, and continuing
violation of Plaintiff's rights, as enumerated under Florida state law.

100. Given Defendant’s conduct and its apparent intention and ability to continue to
collect the Debt directly from Plaintiff in violation of said debt collection laws, Plaintiff has no
adequate remedy at law.

101. Florida Statutes, Section 559.77 provides for the award of $1,000.00 statutory

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damages, actual damages, punitive damages, declaratory and injunctive relief, and an award of
attorneys’ fees and costs to Plaintiff, should Plaintiff prevail in this matter against Defendant.

102. United States Code, Title 47, Section 227(b)(3) provides for the award of $500.00
or actual damages, whichever is greater, for each telephone call made by Defendant, directly or
indirectly, using any ATDS or APV to Plaintiff's Cellular Telephone in violation of the TCPA or
the regulations proscribed thereunder.

103. Additionally, the TCPA, Section 227(b)(3) allows the trial court to increase the
damages up to three times, or $1,500.00, for each telephone call made by Defendant, directly or
indirectly, using any automatic telephone dialing system or an artificial or prerecorded voice to
Plaintiff's Cellular Telephone in willful or knowing violation of the TCPA or the regulations
proscribed thereunder.

104. Asofthe date of this complaint, Defendant did not initiate a law suit in an effort to
collect the Debt. Likewise, no final judgment with respect to the Debt has been obtained by, or
transferred to, Defendant.

| COUNT ONE:
UNLAWFUL DEBT COLLECTION PRACTICE —
VIOLATION OF FLORDA STATUTES, SECTION 559.72(7)

Plaintiff re-alleges paragraphs one (1) through one hundred four (104) as if fully restated
herein and further states as follows:

105. Defendant is subject to, and violated the provisions of, Florida Statutes, Section
559.72(7) by collecting consumer Debt from Plaintiff through means which can reasonably be
expected to abuse or harass Plaintiff.

106. Specifically, Defendant possessed actual knowledge of Undersigned Counsel’s

legal representation of Plaintiff with respect to the Debt, possessed actual knowledge of

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Undersigned Counsel’s contact information, possessed actual knowledge that Plaintiff demanded
that Defendant stop communicating directly with Plaintiff regarding the Debt and instead direct
any such communications to Undersigned Counsel’s office, and possessed actual knowledge that
Plaintiff explicitly revoked any purported prior express consent permitting Defendant to make calls
to Plaintiff's Cellular Telephone.

107. More specifically, Defendant sent at least three (3) written communications
addressed to Undersigned Counsel regarding Plaintiff and the Debt and sent at least two (2) written
communications directly to Plaintiff acknowledging Defendant’s receipt of the First Notices of
Representation and/or Second Notices of Representation.

108. Despite Defendant possessing the above-referenced knowledge, Defendant
collectively made at /east eleven (11) telephone calls to Plaintiff's Cellular Telephone using an
ATDS, PTDS and/or APV in October 2019 in its attempts to collect the Debt directly from
Plaintiff.

109. Moreover, despite Defendant possessing the above-referenced knowledge,
Defendant sent at east two (2) billing statements, at /east four (4) collection letters, and at /east
six (6) e-mails directly to Plaintiff in an attempt to collect the Debt.

110. Defendant’s conduct served no purpose other than to annoy and harass Plaintiff into
paying the Debt by continuing to impermissibly and unlawfully call Plaintiff's Cellular Telephone
in an attempt to collect the Debt and by sending repeated written communications to Plaintiff
requesting payment on the Debt—circumventing Undersigned Counsel’s legal representation of
Plaintiff with respect to the Debt—leading Plaintiff to believe that she simply must endure
Defendant’s repeated and invasive Debt collection communications or immediately make a

payment to Defendant on the Debt.

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Ill. Defendant’s willful, and flagrant violation of, inter alia, the Florida Consumer
Collections Practices Act as a means to collect the Debt, constitutes unlawful conduct and
harassment as is contemplated under Florida Statutes, Section 559.72(7).

112. Asadirect and proximate result of Defendant’s actions, Plaintiff sustained damages
as defined by Florida Statutes, Section 559.77.

COUNT TWO:
UNLAWFUL DEBT COLLECTION PRACTICE —
VIOLATION OF FLORIDA STATUTES, SECTION 559.72(18)

Plaintiff re-alleges paragraphs one (1) through one hundred four (104) as if fully restated
herein and further states as follows:

113. Defendant is subject to, and violated the provisions of, Florida Statutes,
Section 559.72(18) by intentionally and repeatedly communicating directly with Plaintiff after
Defendant received notice and possessed actual knowledge that Plaintiff retained Undersigned
Counsel with respect to the Debt and after Defendant possessed Undersigned Counsel’s contact
information.

114. Specifically, Plaintiffs provided Defendants with actual knowledge that
Undersigned Counsel represented Plaintiffs with respect to the Debt and provided Defendants with
Undersigned Counsel’s contact information via the First Notices of Representation, the Second
Notices of Representation, the Third Notices of Representation, and via Defendant’s telephone
conversations with Plaintiff.

115. Importantly, Defendant sent at /eas? three (3) written communications addressed to
Undersigned Counsel regarding Plaintiff and the Debt and sent af Jeast two (2) written
communications directly to Plaintiff acknowledging Defendant’s receipt of the First Notices of

Representation and/or Second Notices of Representation.

18
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 19 of 99 PagelD 25

116. Despite Defendant possessing actual knowledge of Undersigned Counsel’s
representation of Plaintiff with respect to the Debt and Undersigned Counsel’s contact information,
Defendant subsequently made af Jeast eleven (11) telephone calls to Plaintiff's Cellular Telephone,
sent at least two (2) billing statements directly to Plaintiff, sent af least four (4) collection letters
directly to Plaintiff, and sent at /east six (6) e-mails directly to Plaintiff in its attempts to collect
the Debt.

117. As such, Defendant attempted to collect the Debt directly from Plaintiff, a known
represented party, in violation of Florida Statutes, Section 559.72(18).

118. Asadirect and proximate result of Defendant’s actions, Plaintiff sustained damages
as defined by Florida Statutes, Section 559.77.

COUNT THREE:
TELEPHONE CONSUMER PROTECTION ACT-
VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

Plaintiff re-alleges paragraphs one (1) through one hundred four (104) as if fully restated
herein and further states as follows:

119. Defendant is subject to, and violated the provisions of, 47 United States Code,
Section 227 (b)(1)(A) by using an ATDS, PTDS and/or APV to make a telephone call to a number
assigned to a cellular telephone service without Plaintiff's prior express consent.

120. | At no time herein did Defendant possess Plaintiff's prior express consent to call
Plaintiffs Cellular Telephone using an ATDS, a PTDS and/or an APV.

121. If Defendant contends it possessed such consent, Plaintiff revoked any such
purported consent each and every time Plaintiff requested that Defendant cease calling Plaintiff
regarding the Debt and revoked any such purported consent each and every time Plaintiff advised

Defendant that she retained Undersigned Counsel as legal counsel with respect to the Debt and
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 20 of 99 PagelD 26

provided Defendant with Undersigned Counsel’s contact information.

122. Additionally, if Defendant contends the referenced phone calls were made for
“informational purposes only,” it nevertheless lacked the required prior express consent necessary
to make such informational calls to Plaintiffs Cellular Telephone using an ATDS, PTDS and/or
APV.

123. More specifically, after Plaintiff advised Defendant that Plaintiff retained
Undersigned Counsel with respect to the Debt, asked that Defendant stop calling Plaintiff
regarding the Debt, and asked that Defendant direct any communications regarding the Debt to
Undersigned Counsel’s office, Defendant subsequently made at least eleven (11) calls to
Plaintiff's Cellular Telephone using an ATDS, PTDS and/or APV.

124. The telephone calls made by Defendant complained of herein are the result of a
repeated willful and knowing violation of the TCPA.

125. Asadirect and proximate result of Defendant’s conduct, Plaintiff suffered:

a. The periodic loss of her Cellular Telephone service and the cost associated
therewith;
b. Lost material costs associated with the use of peak time minutes allotted

under her Cellular Telephone service contract; and
c. Stress, anxiety, loss of sleep, invasion of privacy, and deterioration of
relationships, both personal and professional, as a result of the repeated willful and
knowing calls placed in violation of the TCPA.
PRAYER FOR RELIEF
WHEREFORE, as a direct and proximate result of Defendant’s conduct, Plaintiff

respectfully requests an entry of:

20
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 21 of 99 PagelD 27

a. Judgment against Defendant declaring that Defendant violated the FCCPA;

b. Judgment against Defendant for maximum statutory damages for violations
of the FCCPA;

c. Judgment providing injunctive relief, prohibiting Defendant from further

engaging in conduct that violates the FCCPA and TCPA;

d. Judgment against Defendant for statutory damages in the amount of
$500.00 for each of Defendant’s telephone calls that violated the TCPA;

€. Judgment against Defendant for treble damages in the amount of an
additional $1,000.00 for each telephone call! that violated the TCPA for which Defendant

acted knowingly and/or willfully;

f. Actual damages in an amount to be determined at trial;

g. ' An award of attorneys’ fees and costs; and

h. Any other such relief the Court may deem proper.
DEMAND FOR JURY TRIAL

 

Plaintiff hereby demands a trial by jury on all issues triable by right.
SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE
Plaintiff hereby gives notice to Defendant and demands that Defendant and its affiliates
safeguard all relevant evidence—paper, electronic documents, or data—pertaining to this litigation
as required by law.

Respectfully submitted,

LEAVENLAW

/s/ Tan _R. Leavengood

[X] Ian R. Leavengood, Esq., FBN 0010167
o Kelly C. Burke, Esq., FBN 0123506
Northeast Professional Center

3900 First Street North, Suite 100

2]
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 22 of 99 PagelD 28

St. Petersburg, FL 33703

Phone: (727) 327-3328

Fax: (727) 327-3305
consumerservice@leavenlaw.com
kburke@leavenlaw.com
Attorneys for Plaintiff

tO
No
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 23 of 99 PagelD 29

VERIFICATION OF COMPLAINT AND CERTIFICATION

’ STATE OF FLORIDA )
)
COUNTY OF )

Plaintiff KELLY MCMILLEN, having first been duly sworn and upon oath, deposes and says as
follows:

1. lama Plaintiff in this civil proceeding.

2. I have read the above-entitled civil Complaint prepared by my attorneys and I believe that all of
the facts contained in it are true, to the best of my knowledge, information and belief formed after
reasonable inquiry.

3. I believe that this civil Complaint is well grounded in fact and warranted by existing law or by a
good faith argument for the extension, modification, or reversal of existing law.

4, | I believe that this civil Complaint ts not interposed for any improper purpose, such as to harass
any Defendant(s), cause unnecessary delay to any Defendant(s), or create a needless increase in

the cost of litigation to any Defendant(s), named in the Complaint.

 

5, I have filed this civil Complaint in good faith and solely for the purposes set forth in it.

6. Each and every exhibit which has been attached to this Complaint, if any, is a true and correct
copy of the original.

7. Except for clearly indicated redactions made by my attorneys where appropriate, | have not
altered, changed, modified, or fabricated any exhibits, except that some of the attached exhibits,

if any, may contain some of my own handwritten notations.

aX DK, tn hle—

Kelly MeMillen?

Subscribed and sworn to before me Ko {/
this hy of We 2 _,2019. C Cd ata QQ Sorbet.

Notary Public
My Commission Expires: Proofof LD. f- & bl

 

Notary Public State of Florida
* Marsha K Fowler

My Commission GG 931338
Expires 11/12/2023

 
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 24 of 99 PagelD 30
Filing # 100976217 E-Filed 12/31/2019 12:40:02 PM

IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
IN AND FOR PINELLAS COUNTY, FLORIDA
CIVIL DIVISION

KELLY MCMILLEN,
an individual, Case No.:

Plaintiff,
Vv.

WELLS FARGO BANK, N.A.,
a national association,

Defendant.
/

 

DESIGNATION OF E-MAIL ADDRESSES
COMES NOW, Plaintiff, KELLY MCMILLEN (hereinafter, “Plaintiff’), by and through
the undersigned counsel pursuant to the Florida Supreme Court’s Order No. SC 10-2101 and
Florida Rule of Judicial Administration 2.516, and hereby designates primary and secondary
electronic mail addresses for Plaintiff's counsel in this matter.

For Ian R. Leavengood
Primary: consumerservice@leavenlaw.com

For Kelly C. Burke
Primary: consumerservice@leavenlaw.com
Secondary: kburke@leavenlaw.com

Respectfully submitted,
LEAVENLAW

/s/ Ian R. Leavengood

[X] Ian R. Leavengood, Esq., FBN 0010167
O Kelly C. Burke, Esq., FBN 0123506
Northeast Professional Center

3900 First Street North, Suite 100

St. Petersburg, FL 33703

Phone: (727) 327-3328

Fax: (727) 327-3305
consumerservice@leavenlaw.com
kburke@leavenlaw.com

 

1
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 25 of 99 PagelD 31

Attorneys for Plaintiff

CERTIFICATE OF SERVICE

 

I] HEREBY CERTIFY that I served a copy of the foregoing Designation of E-mail
Addresses via U.S. Mail or process server this 31st day of December 2019 to:

Wells Fargo Bank, N.A.

c/o Corporation Service Company, Registered Agent
1201 Hays Street

Tallahassee, FL 32301-2525

/s/ lan R. Leavengood
Attorney

i)
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 26 of 99 PagelD 32

EXHIBIT A
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 27 of 99 PagelD 33

LeavenLaw Tel: 727.327.3328
3800 First Strest North, Suite 100 Fax: 727.327.3305
St. Petersburg, FL 33703 www, LeavenLaw.com

 

Fax LEAVENL AW

ATTORNEYS AT LAW

 

 

 

 

Ta: Collections Reprasentative Original Creditor: Wells Fargo
Original Creditor Fax: 866-359-8664; 855-464-8019 In Re: Kelly McMillen, 906 Myakka NE Ct., St.
clayton.moore@welisfargo.com Petersburg, FL 33702

SSN: XXX-XX-7783
Account No: 6886857869440" and All Known

 

 

Accounts
From: Marsha Fowler, Legal Assistant to Date: September 30, 2019
lan R. Leavengood
Number of Pages (including cover sheet): 1 To confirm receipt/missing pages, please call:

727.327.3328

 

Collections Representative,

Please be aware that this law firm (see above for contact information) represents Kelly McMillen with regard to
her debts generally (1.e. for the purpose of settling ALL of her debts OR for filing a bankruptcy), including the above
listed account and any other accounts of debts which you or your agency is attempting to collect from our client(s).
Any further communication with our client(s) will be in violation of Fla. Sta. § §59.72(18), which provides in part that:

(a} Without the prior consent of the consumer glven directly to the debt collector or
the express permiasion of a court of competent Jurisdiction, a debt collector may
not communicate with a consumer In connection with the collection of any debt -

{b) If the debt collector knows the consumer is represented by an attorney with
respect to such debt and has knowledge of, or can readily ascertain, such
attorney’s name and address, uniess the attorney fails to respond within a
reasonable period of time to a communication from the debt collector or unless
the attorney consents to direct communication with the consumer; or

Also, any further direct communication with our client{s) will be in violation of Fla. Sta. § 559.72(18) which
provides in part that:

“[\]n collecting consumer debts, no person shail communicate with the debtor if that
person knows that the debtor is represented by an attornay with respect to such debt
and has knowledge of...such attorney’s name and address.”

Finally, 47 U.S.C. § 227 prohibits making any call using any automatic telephone dialing system ("ATDS’) or
an artificial or pre-recorded voice to any telephone number assigned to a cellular telephone service without prior
express consent. To the extent any such prior express consent existed, if any, to call the above person using an
ATDS, such consent is hereby forever revoked consistent with the Florida and federal law.

For further verification of representation or to discuss the debt which you intend to collect, please feel free to
contact us directly.

Sincerely,

Marsha Fowler, Legal Assistant
to Jan R. Leavengead, Esq.
LeavenLaw

 
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 28 of 99 PagelD 34

MEMORY TRANSMISSION REPORT
TIME 09-30-2019 15:58
FAX NO.1 7273273305
NANE : LeavenLew

FILE NO. > 060
DATE: 09.30 15:57
TO m 18554648019
DOCUMENT PAGES 1

START TIME 09.30 15:57
END TIME 09,30 15:58
PAGES SENT 1

STATUS : OK

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***SUCCESSFUL TX NOTICE***

LeavenLuw Yet: 727,.027.032n
3900 First Strast Norn, @ulte 100 Fox: 727.927.3205
@t. Paterahurg, BL Aas70a www-LaavenlLaw.oom

 

 

Fax LEAV

 

 

 

AT *roOR WB ES AD FA WwW
Te: Coffactions Reprezontative Oniginal Croditor: Walle Fargo

Original Creditor Fax:, GOG-268-0666; 805-666-8019 in Ke: Kolly Molvillien, 908 Myakka NE Ct, s¢,
clayton moore sliatarge.acm Poterobusg, ve 33702 y ,

SON: KKK-XNK-7 76S
Acupunt No: GB86597850440° and All Known

 

 

 

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¥ a2 , Lagat A It ta Rate: September 40, 2045
lan MN. Leavengiood
Number of Pages Onclucding cover shoot): 1 To confirm reaciptmissing pages, plowme call:

T2X7-327.3228
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Piease be aware that thio law frm (eee sbove far contnol [nformatian) reprenents Kelly MoMilllan with regard to
her debts generally @.e. for the purpose of eatiling ALL of her dabts OR for filing a bunknsptoy), including the above
Ieted moaoum end any other account of debte whinh you of your egency le attempting to caliect from our cltent(a),

further communication with aur aflent(s) will ba In viaintian of Fie. Gime. § 489.7218), which provides In part that:

ta) Without the prior of the a te the debt coliactor or
the exnpross pormiseion of = court of competent Jurodiction, a debt collzotor may
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(b) IF the dsbt collector knowe the consumer te represented by an attorney with
respect to auph debt and has knowledge of, or osn reniily sacortain, auch
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the attorney conuenta to diraot communicetion with the consumer) or

Also, any turther dirgot communication with our cllont(s) will ba In violation of Fina, Sta. § 869.72(18) which
provides in part that

 

 

 

 

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Pereen knows that the te ron by an Voy with 1 to such opt
and has knowledge of...cueh attarney's name and address.”

finally, 27 U.S.C. @ 227 pranibiis making any call using any automatio telephones dating system CATDS") or
an artificial or pre-recorded volce to any telophano number mspigned to @ collular telephone sence without poor
expresa canaant. To the extent any euch prior axpress cansunt oxdsted, If any, to call tho above peorcan uming an
ATDS, euch tle oor with the Florida and fadoral lew.

For further varfication of representation ar to discuss the debt which you intand to collect, pleave feal free to
gsontact ua directly.

Sinoerely.

Mareha Fowler, Legal Assistant
to Inn R. Leavengond, Faq.
LeavenLaw

 
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 29 of 99 PagelD 35

MEMORY TRANSMISSION REPORT

TIME XXX-XX-XXXX 15:46
FAX NO.1 17273273305
NAME > Leaventaw
FILE NO. : 058
DATE > 09.30 15:46
TO 78 18663598664
DOCUMENT PAGES : 4
START TIME : 09,30 15:46
END TIME : 09.30 15:46
PAGES SENT : 4
STATUS : OK
***SUCCESSFUL TX NOTICE***
heaventaw cos Non, Suite 100 et. 727-227 3228
St. Pytersuurg, FL O07To3

wun.LeavenLaw,com

 

Fax | Lea ny LAV

ATT COC AN OK ¥ SS

 

 

 

 

To: Golleations Representative. Original Greditor Wolls Fanac
ort Sroditor F: 606-259-8864; 655-104-8019 try Fees KK: MoMiil OG Mynx NE Ct, 50
Boeos nooredpwel Bfarge.com * piles. Keky Beiter sos hon *

SAN. HTCRM-7763
Account NO: GES685759R440""" and AU) Known
Agoountsa

 

From: Marena Fowtlor, Lagal (omtatant ta Beate: Saptember 30, 2073
tan R. Leavangoon

 

Number of Pages (inpluding cover ahent): 4 Te Ba eall:
Z27.327-32328
Collectiana Repmacntative,

Please be aware that this law firm Gace above for cantact Information) represents Kelly MoMilten with regard to
har debts ganonally (i.c. for the purpoos of setting ALL of hor debts OR for filing 4 bankraptoy), Including the above
Usted noocount and any other accou debbie which you or your agency Is atiomping to coliact from our cents).
Any further communication with our cilent(s) will be in violation of Fa. Ste, @ 85%.72(15), which provides in part that:

f=) Without the prior consent of the consumer given Girectiy te the debt colleator or

the express permisaion of a caurt of competent juriadicticn, a debt volleotor may

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provides In purt that:

“[FHn collecting consumer debw, no parsen shalt communicate with the debtor If that
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Finally, 47 U.8.c_ & 227 prohibits making any call uing any automatic telephone dialing ayatam (‘ATOS") or
an artificial or pre-recorded valce to any telaphone number assigned to a celluter telephone gervice without prar
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ATOS, auch canaem ja heroby forever ravoked constatent with the Florda ard foderai taw.

For further verification of representation ar to dlgouss the debt which you intend to collect, pleaus feu! frees
contact ue direcily, .
Sinceroty.

Mareha Fowler, Legal Asalateant
to lan R. Leavengood, Easaq.
Leavenlew

 
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 30 of 99 PagelD 36

Marsha Fowler

 

a a Oe ae
From: _ Microsoft Outlook
To: clayton.moore@wellsfargo.com
Sent: Monday, September 30, 2019 5:07 PM
Subject: Relayed: Notice of Representation - McMillen

Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:

wellsfargo.com (cla ore@well m

Subject: Notice of Representation - McMillen
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 31 of 99 PagelD 37

EXHIBIT B
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 32 of 99 PagelD 38

    

 

 

LaavenLaw , Tel: 727.327.3328
3900 First Street North, Suita 100 Fax: 727.327.3305
St. Petersburg, FL 33703 www.LeavenLaw.com
> ADF
ATTORNEYS AT LAW
September 30, 2019
Wells Fargo Card Services alerts@notify.wellsfargo.com
PO Box 51193 - client.services@wellsfargo.com

Los Angeles, CA 90051-5493

Re: OurClient; Kelly McMillen, 906 Myakka NE Ct., St. Petersburg, FL 33702
SSN; XXX-xx-7763
Account No: 407221029772**** and All Known Accounts
Matter No.:  19-00403

Collections Representative,

Please be aware that this law firm (see above for contact information) represents Kelly McMillen
with regard to her debts generally (i.e. for the purpose of settling ALL of her debts OR for filing a
bankruptcy petition), including the above listed account and any other accounts of debis which you or your
agency is attempting to collect from our client(s), Any further communication with our client(s) will be in
violation of Fla, Sta. § 559.72(18), which provides in part that:

“7)n collecting consumer debts, no person shall communicate with the debtor if that
person knows that the debtor is represented by an attorney with respect to such debt
and has knowledge of...such attorney’s name and address.”

Furthermore, 47 U.S.C. § 227 prohibits making any call using any automatic telephone dialing
system (“ATDS”) or an artificial or pre-recorded voice to any telephone number assigned to a cellular
telephone service without prior express consent. To the extent any such prior express consent existed, if
any, lo call the above person using an ATDS, such consent is hereby forever revoked consistent with the
Florida and federal law.

For further verification of representation or to discuss the debt which you intend to callect,
please feel free to contact us directly. (727) 327-3328,

Sincerely,

Marsha Fowler, Legal Assistant
to Ian R. Leavengood, Esq.
LeavenLaw

7015 1220 O002 3448 4Yeh

 
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 33 of 99 PagelD 39

Marsha Fowler

From: Microsoft Outlook /

To: alerts @notify.wellsfargo.com:

Sent: Monday, September 30, 2019 4:52 PM
Subject: -  Relayed: Notice of Representation

Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:

alerts@notify.wellsfargo.com (alerts@notify.wellsfargo.com)

Subject: Notice of Representation
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 34 of 99 PagelD 40

Marsha Fowler

From: _ Microsoft Outlook . . .

To: client.services @wellsfargo.com -
Sent: Monday, September 30; 2019 .4:54 PM
Subject: Relayed: Notice of Representation

Delivery to these recipients or groups is complete, ‘but no delivery notification was sent by the
destination server:

client.services@wellsfargo cllent.services@wellsfarqo.com

Subject: Notice of Representation
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 35 of 99 PagelD 41

11/8/2019 USPS,com® - USPS Tracking® Results

USPS Tracking’ FAQs >

Track Another Package +

Remove

Tracking Number: 70191120000234489425

Your item was delivered at 6:28 pm on October 10, 2019 in LOS ANGELES, CA 90051.

Y Delivered

. . October 10, 2019 at 6:28 pm
Delivered
LOS ANGELES, CA 90051

yoeqpess

Get Updates \V

 

Text & Email Updates

 

Tracking History

 

Product Information

 

See Less A

Can’t find what you're looking for?

Go to our FAQs section to find answers to your tracking questions.

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text2877 7=&tLabels=70191120000234489425%2C if2
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 36 of 99 PagelD 42

EXHIBIT C
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 37 of 99 PagelD 43

Marsha Fowler

From: ofsrep.rumbbgw@wellsfargo.com
Sent: — Monday, September 30, 2019 4:54 PM
Ta: Marsha Fowler

Subject: Notice of Representation

To ehsure the privacy and security of your account information, please sign on at wellsfargo.com to email us.

We can only respond to questions, instructions, or requests regarding your account if we receive them through a secure
banking session where you have been verified as the authorized signer on the account.

Please resend your email to us by signing on at https://www.wellsfargo.com/questions.
if you experience difficulties signing on, select the "Username/Password Help" link.

Sincerely,
Wells Fargo Online Customer Service

Please do not reply to this email directly, To ensure 2 prompt and secure response, sign on to email us or call us at 1-
800-956-4442, Bankers are available 24 hours a day, 7 days a week.
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 38 of 99 PagelD 44

EXHIBIT D
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 39 of 99 PagelD 45

Marsha Fowler

From: ‘WFPFClientServices@wellsfargo. com.

‘Sent: ‘Monday, September 30, 2019 4:56 PM

To: Marsha Fowler -
Subject: Your WF Practice Finance Client Services Inquity

Thank you for contacting the Wells Fargo Practice Finance Client Services Department. Your inquiry is important to us.
Our Client Services Team is reviewing your request and will respond to your inquiry within 3 business days - please note
additional processing time may be required based upon the documentation requested.

Client Services hours of operation are Monday through Friday, from 7 a.m. “to 4p.m., Pacific Time. For any additional
information you can reach our Client Services Department at 1-800-628-7816 or you can email us at
client.services@wellsfargo.com<mailto:client.services@wellsfargo.com>,

Sincerely,

Wells Fargo Client Services

Client Services Specialist

Wells Fargo Practice Finance | 2001 Clayton RD, STE 900 | Concord, CA 94520
TEL: 800.628.7816 | FAX: 800.861.9967

client.services @wellsfargo.com<mailto:client. services@wellsfargo. com>

This message may contain confidential and/or privileged information, If you are not the addressee or authorized ta
receive this for the addressée, you must not use, copy, disclose, or take any action based on this message or any
information herein. If you have réceived this message in error, please advise the sender immediately by reply email and
delete this message. Thank you for your cooperation,
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 40 of 99 PagelD 46

EXHIBIT E
ru a92 5G Oe OWE AS nOCy
Wells Fargo
WELLS Demands Processing - B69§5-01D
PyNerON 0 b0% 31597

Billings, MT 59107-9900

ment 1-1 Filed 02/05/20 Pa

ANLU BSVUVGOYSGOD/

Wire Transfer Instructions:

Wire funds to: Wells Fargo Bank, N.A.
Account Number: 4030232213
Routing Number: 121000248

Please Include: Customer name and
account number

DEMAND STATEMENT

Tuesday, October 1, 2019

Fax: (727) 327-3305
Attn: Marsha Fowler

ge 41 of 99 PagelD 47
PAGEL 2 ur “4

Express Delivery:
Payoff Processing/

Lien Release

MAC B6955-01B

2324 Overland Ave.
Billings, MT 59102-6401

 

 

 

Leaven Law Firm
Customer: Kelly S McMillen
Account #: 685-685-7569440-0001
Daily Per Diem: $2.03
Per your request, we submit our demand for the above account. Payoff As Of
10/01/20
Please reconfirm the payoff amount prior to remitting funds. Ceetht Peeacipal Balance $5,292.55
Payoff update requests may be faxed to Wells Fargo at (866) Interest through 10/01/20 $oo.n
238-6874. Allow two business days for processing update | “MTS Tous 1/2039 3
requests. : Deferred Interest $0.00
. . . . . . .,_ | Credit Insurance $0.00
This quote is subject to the clearing of all funds in transit (credits Late F $
or debits) regardless of source. Upon full payment a lien release | L#te Fees 0.00
will be sent to the appropriate county/state agency. Other Charges $0.00
Misc, Fees $0.00
If it is a Wells Fargo Refinance, the Borrower may have the Termination Fees $0.00
Home Equity: Pre-Payment penalty fee waived by submitting the | Rebate/Credits $0.00
new Wells Fargo account number to be used to pay off and close | Escrow Amount $0.00
the Wells Fargo Home Equity Account. If yon have questions :
: ° ty
regarding this fee, please call (866) 810-1424. funount Dee Under Note/Seeurk
OO $5,314.86
After 10/01/2019 additional interest of $2.03 per day must be
added to the payoff quote shown unti} the date funds are | Additional Contractual/Other Fees/Charges Due
actually received by us at the above address.
This demand is only valid for 30 days and will expire 30 days | Lien Release/Recording Cost $0.00
after the date of issuance. : Demand Statement Fee $0.00
If you wish to cancel this demand, please fax immediate | F@* Fee $0.00
notification to Wells Fargo at (866) 238-6874. Total Amount due to Payoff _
$5,314.86

 

 

 

 

Prepared by: Wells Fargo Demand Processing Department - Espatiol: 866-297-4535

Page 1 of1
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 42 of 99 PagelD 48

EXHIBIT F
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 43 of 99 PagelD 49

   

October 01, 2019

Leaven Law
3900 First Street North, Suite 100.
St Petersburg, FL 33703

Subject: Acknowledgment letter - receipt of i inquiry regarding account number —
XXXRXXXXKO4400001

Dear Leaven Law:

Thank you for reaching out to us. We! ve received your inquiry, and we want you to know
addressing your request is important to us.

What to expect :
It's our goal to complete the necessary research and provide you-with a response by October 15, |
2019. If we determine additional time is needed to fully answer your inquiry, we'll provide you |
with a new completion date. We appreciate your patience as we fully address your inquiry.

We'! re here to help :

We appreciate the time and effort taken to contact us. If you have questions, we're here to help.
You may reach us at 1-866-439-3557. We're available to assist you Monday to Friday 8:00 a.m. =
10:00 p.m. Eastern Time and Weekends 9:00 a.m. -'7:00 p.m, Eastern Time. --

Sincerely,

 

* Sean Smith
Senior Vice President
Wells Fargo Home Lending _

In order to remain compliant with state and federal guidelines, If legal counsel Is engaged for any litigation,
Including bankruptcy, we will communicate with the appropriate parties going forward.
RECEIVED

OCT 02 2019

CC521/WY7/co8877069/cIWFE
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 44 of 99 PagelD 50

EXHIBIT G
Case 8:20-cv-00275-WFJ-AAS Document.1-1 Filed 02/05/20 Page 45 of 99 PagelD 51

   
      

  

Coon Re

FARG or ; 8, TA 59806-0898

October ot, 2019

Kelly S McMillen
906 Myakka Ct NE
Saint Petersburg, FL 33702

Subject: Acknowledgment letter - receipt of inquiry regarding account number
’ XXKXXKXKKQ4400001

Dear Kelly S McMillen:

We're writing to let you know we've received an inquiry from Leaven Law about this account,
- and we want you to know addressing their request is important to us.

What to expect

It's our goal to complete the necessary research and provide you with a response by October 15,
2019. If we determine additional time is needed to fully answer the inquiry, we'll provide you
with a new completion date. We appreciate your patience as we fully address your inquiry.

We're here to help

We appreciate the time and effort taken to contact us. If you have questions, we're here to help.
You may reach us at 1-866~439-3557. We're available to assist you Monday to Friday 8:00 a.m. -
10:00 p.m. Eastern Time and Weekends 9:00 a.m. - 7:00 p.m. Eastern Time.

Sincerely,

  

Sean Smith
Senior Vice President
Wells Fargo Home Lending

In order to remain compliant with state and federal guidelines, if legal counsel is engaged for any litigation,
including bankruptcy, we will communicate with the appropriate parties going forward.

CC523/WY7/co8877069/cIWFE
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 46 of 99 PagelD 52

EXHIBIT H
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 47 of 99 PagelD 53

From: Wells Fargo Online <alerts@notify.wellsfargo.com>
To: KELLYMAC279 <KELLYMAC279@AOL.COM>
Subject: Your Wells Fargo account has reached zero dollars
Date: Tue, Oct 1, 2019 7:47 am

 

 

SESE TEE E = = SUSE LT

Your available balance has reached or dropped below zero

The available balance for your account Tax Account has reached or dropped below zero dollars.

Ending Balance -$10.00
Available balance -$10.00

This information is accurate as of 10/01/2019 01:56 am Eastern Time. For your most current balance
and more account details, sign on and select your account.

To quickly and easily move money between your Wells Fargo accounts or between your Wells Fargo
accounts and accounts at other institutions, sian on and go to Transfer & Pay.

If you have questions, Wells Fargo Customer Service is available 24 hours a day, 7 days a week at 1-
800-869-3557, or contact us by secure email.

 

wellsfargo.com {| Security Center

Note about balances: Ending balance reflects transactions that have posted to your account and does
not reflect pending deposits or withdrawals. The available batance is an indication of funds that are
available to you today; however, it may not reflect all transactions that you may have initiated or
authorized.

Available Balance - This is the amount of money you have in your account that is available for
withdrawal. It reflects the latest balance based on transactions posted to your account, including
deposited funds, paid checks (if your account allows check writing), withdrawals, and purchases
made with your ATM, debit, or prepaid card. Note that some transaction activity (such as outstanding
checks and some debit/prepaid card purchases) may take several days to post to your account and,
therefore, may not be reflected in the available balance. Some deposits made in a branch or ATM
may not be immediately available. for withdrawal or to cover other transactions.

Please do not reply to this automated email. Sign on to send a secure email.

Yau are receiving this alert because you are an online banking customer. To modify or cancel your
alerts, please sign on to Manage Alerts. Carrier message and data rates may apply.

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 48 of 99 PagelD 54

EXHIBIT |
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 49 of 99 PagelD 55

Wells Fargo

WELLS P.O, Box 10335

mrertetn) Des Moines, IA 50306-0335
. ry fl)

 

October 3, 2019

Kelly S McMillen

906 Myakka Ct NE

Saint Petersburg, FL 33702

Subject: Response to an inquiry about account number XXX-XXK-XKX9440-0001 C | nan)
Dear Kelly S McMillen:

Thank you for the opportunity to address the notice of representation we received from

Leaven Law. We want you to know we're here to help. We're responding and want to make sure
you have the information you need.

Notice of representation

This letter is to confirm that the notice of representation has been forwarded to the appropriate
department for review.

Going forward

We value our customers, and it's been my goal to fully address the request. If you have any
questions, we're here to help. You may reach us at 1-877-269-6056, Monday through Friday,
8:00 a.m. to 10:00 p.m., or Saturday and Sunday, 9:00 a.m. to 7:00 p.m. Eastern Time.

Sincerely,

Belinda Thomas
Executive Resolution Specialist
Customer Care and Recovery Group

IRX/c08877069/cIWFE

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Orredéle 262000
Case 8:20-cv-00275-WFJ-AAS Document 1-1

Wells Fargo Home Equity
-Return Mail Operations
PO Box 5169

Sioux Falls, SD 57117-5169

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“Kelly S Memillen
Eat 906 Myakka Ct Ne

Saint Petersburg, FL 33702

Filed 02/05/20 Page 50 of 99 PagelID 56

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 51 of 99 PagelD 57

EXHIBIT J |
o-0

 

Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 52 of 99 PagelD 58

WELLS FARGO CARD SERVICES
P.O. BOX 10347 . !
DES MOINES, IA 50306

October 4, 2019

KELLY § MCMILLEN
906 MYAKKA CT NE
ST PETERSBURG FL 33702-2792 0209

400135023

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Subject: Your credit card account is past due.
Amount Past Due: $147.00

Current Balance: $6,591.59

Dear Kelly S Memillen:

We want to remind you that your credit card account ending in. 2480 remains past due. Please send
the past-due amount right away to bring your account current.

To make your payment

. Send a minimum payment of $147.00 today in one of the following ways.

* Online: www.wellsfargo.com, or on your mobile device at www.wf.com
* By phone: 1-800-988-8019, at the times listed below
* By mail: Wells Fargo Card Services, PO Box 51193, Los Angeles, CA 90051-5493
If you've already made other arrangements to pay your credit card, thank you.
We're here to help
We're here to work with you. If you have questions or want to discuss repayment options, please call us
at 1-800-988-8019. We are available to assist you:
* Monday through Thursday from 7:00 a.m. to 10:00 p.m. Central Time
* Friday from 7:00 a.m. to. 7:00:p.m. Cental Time
* Saturday and Sunday from 8:00 a.m. to 4:30 p.m. Central Time
For customers with hearing or speech disabilities, we accept telecommunications relay service calls.
Thank you,
Wells Fargo Card Services

The law of some states require us to inform you that this communication is an attempt to collect a debt
and that any information obtained will be used for that purpose.

FDOPSJOB 34451612.3 5594 5299 1lo00 2008 CC 1 O67 1759 20191004 FC 0491 PG 1 GF 1 400135023
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 53 of 99 PagelD 59

EXHIBIT K
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 54 of 99 PagelD 60

LeavenLaw ‘Tel: 727.327.3328
3900 First Street North, Suite 100 Fax: 727.327.3305
St. Petersburg, FL 33703 www.LeavenLaw.com

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LEAVENL AW

   

 

 

ATTORNEYS LAW
October 7, 2019
Wells Fargo Card Services alerts@notify.wellsfargo.com

PO Box 51193 client.services@wellsfargo.com
Los Angeles, CA 90051-5493 ; ,

Re: Our Client: Kelly McMillen, 906 Myakka NE Ct., St. Petersburg, FL 33702
SSN: XXX-Xx-7763
Account No: Dillard’s 3777 170207 62070 and All Known Accounts
Matter No.: 19-0403

Collections Representative,

Please be aware that this law firm (see above for contact information) represents Kelly McMillen
with regard to her debts generally (ic. for the purpose of settling ALL of her debts OR for filing a
bankruptcy petition), including the above listed account and any other accounts of debts which you or your
agency is attempting to collect from our client(s). Any further communication with our client(s) will be in
violation of Fla. Sta. § 559.72(18), which provides in part that:

“[I]n collecting consumer debts, no person shall communicate with the debtor if that
person knows that the debtor is represented by an attorney with respect to such debt
and has knowledge of...such attorney’s name and address.”

Furthermore, 47 U.S.C. § 227 prohibits making any call using any automatic telephone dialing
system (ATDS”) or an artificial or pre-recorded voice to any telephone number assigned to a cellular
telephone service without prior express consent, To the extent any such prior express consent existed, if
any, to call the above person using an ATDS, such consent is hereby forever revoked consistent with the
Florida and federal law.

For further verification of representation or to discuss the debt which you intend to collect,
please feel free to contact us directly. (727) 327-3328.

Sincerely,

Marsha Fowler, Legal Assistant
to Ian R. Leavengood, Esq.
LeavenLaw

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 55 of 99 PagelD 61

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 57 of 99 PagelD 63

 

 

 

11/8/2019 : . USPS.com® - USPS Tracking® Results
. ® FAQ
USPS Tracking 5?
Track Another Package +
Tracking Number: 70173040000012283567 Remove X
Your item was delivered at 6:28 pm on October 10, 2019 in LOS ANGELES, CA 90051.
Y Delivered
October 10, 2019 at 6:28 pm oD
Delivered 5
LOS ANGELES, CA 90051 a
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Get Updates \V
Text & Email Updates Vv
Tracking History Vv
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Product Information

See Less WA

Can’t find what you’re looking for?

Go to our FAQs section to find answers to your tracking questions.

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLco=2&text287 7 7=&tLabels=70173040000012283567%2C 12
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 58 of 99 PagelD 64

EXHIBIT L
0-0

Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 59 of 99 PagelD 65

DILLARD'S CARD SERVICES
PO BOX 5132
SIOUX FALLS, SD 57117-5132

 

October 7, 2019

KELLY MCMILLEN
906 MYAKKA CT NE
ST PETERSBURG FL 33702-2792 o205

10270

Subject: Payment reminder for Dillard's account number ending in; 2070 °
Dear Kelly Memillen:

Just a reminder - payment on your account is now due.

If you have overlooked sending us your check, we would appreciate if you would do so now. If there is
some problem, please let us know how we can help.

Of course, if your check is already on its way to us, please accept our thanks and disregard this notice.
If you have any questions, please call us at 1-855-515-5488 Monday through Friday 7:00 a.m. to
9:00 p.m., and Saturday and Sunday 7:00 a.m. to 4:00 p.m. Central Time. For customers with hearing

or speech disabilities, we accept telecommunications relay service calls.

It is quick and easy to make a payment online 24 hours a day, 7 days a week by accessing
www.dillards.com/payonline.

Si necesita asistencia en espafiol llame al 1-855-515-5488.

Thank you.

Wells Fargo Bank, N.A. Collections Team

f

The laws of some states require us to inform you that this communication is an attempt to collect a
debt and that any information obtained will be used for that purpose.

This communication is intended solely for the individuals to whom it is addressed. Commercial and/or

mass distribution or reproduction of the content, in whole or in part, of this letter including the
proprietary company logo is strictly prohibited.

5685 6329 7000 2000 Cb402 9280 FCoe010270
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 60 of 99 PagelD 66

EXHIBIT M
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 61 of 99 PagelD 67

. From: Wells Fargo Online <wellsfargo@connect.wellsfargoemail.com>
Jo: kellymac279 <kellymac279@aol.com>
Subject: Please contact us about your.Wells Fargo account

Hated Tue,. ct 8;.20195!33 pm

 

Sign on for important account information.

View this email online.

 
 

AVE AIG Oo
Wells Fargo is here to help

~ }
RE:Your account ending: irr 2480" (erect: +r cart)
Dear Kelly S Mcmillen,

We value you as a customer, so please contact us about your Wells Fargo account
ending in 2480.

Call us toll-free at 1-866-681-1626 or sign on to view your account online.
On a mobile device? Sign on to Mobile Banking.
Thank you. We appreciate your business,

Sincerely,

Wells Fargo Card Services

Sign On 3

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Wells Fargo Mobile

 
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 62 of 99 PagelD 68

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Follow ust

Home/Sign On Contact Us Add to Address Book Update Email Address

Privacy Policy | Protect yourself from fraud

Contact us:

If you have questions, please do not reply to this message.
Wells Fargo Ontine® customers, sign on and select Contact Us.
If you are not a Wells Fargo Online customer, view our contact information.

For all written correspondence, please contact us at:
Wells Fargo Bank, N.A. Customer Service: PO Box 10347, Des Moines, IA 50306-0347

Online Customer Service Code: YYMMCLCCD21
Wells Fargo & Company Headquarters: 420 Montgomery St., San Francisco, CA 94104

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 63 of 99 PagelD 69

EXHIBIT N >
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 64 of 99 PagelD 70

From: Wells Fargo Online <alerts@notify.welisfargo.com>
To: KELLYMAC279 <KELLYMAC279@AOL.COM>
Subject: Wells Fargo Transfer Canceled Due to Insufficient Funds
Date: Wed, Oct 16, 2019 8:33 pm

 

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Fae)

 

pL BLTeLey

 

Your transfer was canceled due to insufficient funds

We had to cance! the following transfer between your Wells Fargo accounts because the account you were
transferring from did not have sufficient funds:

Transfer From: XXXXXXXKX6441
Transfer To: XXXXXX7914

If you would still like to make this transfer, please verify that sufficient funds are available, and reschedule the
transfer.

If this is a recurring transfer, we will complete the future scheduled transfers based on funds availability-at the
time each transfer is scheduled to occur, ‘

If you have questions, we are available 24 hours a day, 7 days a week at 1-800-956-4442 or by secure email.
Sincerely,

Wells Fargo Online Customer Service

 

wellsfargo.com | Security Center

 

Please do not reply to this email directly. To ensure a prompt and secure response, sign on to email us.

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 65 of 99 PagelD 71

EXHIBIT O
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 66 of 99 PagelD 72

From: Wells Fargo Online <alerts@notify.wellsfargo.com>
To: KELLYMAC279 <KELLYMAC279@AOL.COM>

Subject: Your Wells Fargo account has reached zero dollars

Date: Mon, Oct 21, 2019 12:12 pm

 

 

Your available balance has reached or dropped below zero

The available balance for your account XXXXXXXXMOeF has reached or dropped belaw zero
dollars.

Ending Balance $32.24
Available balance ~$214.79

This information is accurate as of 10/21/2019 12:12 pm Eastern Time. For your most current balance
and more account details, sign on and select your account.

To quickly and easily move money between your Wells Fargo accounts or between your Wells Fargo
accounts and accounts at other institutions, sign on and go to Transfer & Pay.

if you have questions, Wells Fargo Customer Service is available 24 hours a day, 7 days a week at 41-
800-869-3557, or contact us by secure email.

 

wellsfargo.com {| Security Center

Note about balances: Ending balance reflects transactions that have posted to your account and does
not reflect pending deposits or withdrawals. The available balance is an indication of funds that are
available fo you today; however, it may not reflect ail transactions that you may have initiated or
authorized.

Available Balance - This is the amount of money you have in your account that is available for
withdrawal. It reflects the latest balance based on transactions posted to your account, including
deposited funds, paid checks (if your account allows check writing), withdrawals, and purchases
made with your ATM, debit, or prepaid card. Note that some transaction activity (such as outstanding
checks and some debit/prepaid card purchases) may take several days to post to your account and,
therefore, may not be reflected in the available balance. Some deposits made in a branch or ATM
may not be immediately available far withdrawal or to cover other transactions.

Please do not reply to this automated email. Sign on to send a secure email.

You are receiving this alert because you are an online banking customer. To modify or cancel your
alerts, please sign on to Manage Alerts. Carrier message and data rates may apply. ~

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 67 of 99 PagelD 73

EXHIBIT P
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 68 of 99 PagelD 74

From: Wells Fargo Online <aterts@notify.wellsfargo.com>
To: KELLYMAC279 <KELLYMAC279@AOL.COM>
Subject: Your Wells Fargo account has reached zero dollars _

Date: Tue, Oct 22, 2019 9:50 am

 

Your available balance has reached or dropped below zero

The available balance for your account XXXXXXXXX644#has reached or dropped below zero

dollars.
Ending Balance -$2.76
Available balance -$2.76

This information is accurate as of 10/22/2019 09:42 am Eastern Time. For your most current balance
and more account details, sign on and select your account.

To quickly and easily move money between your Wells Fargo accounts or between your Wells Fargo
accounts and accounts at other institutions, sian on and go to Transfer & Pay.

if you have questions, Wells Fargo Customer Service is available 24 hours a day, 7 days a week at 1-
800-869-3557, or contact us by secure email.

 

wellsfargo.com {| Security Center

Note about balances: Ending balance reflects transactions that have posted to your account and does
not reflect pending deposits or withdrawals. The available balance is an indication of funds that are
available to you today; however, it may not reflect all transactions that you may have initiated or
authorized.

Available Balance - This is the amount of money you have in your account that is available for
withdrawal. It reflects the latest balance based on transactions posted to your account, including
deposited funds, paid checks (if your account allows check writing), withdrawals, and purchases
made with your ATM, debit, or prepaid card. Note that some transaction activity (such as outstanding
checks and some debit/prepaid card purchases) may take several days to post to your account and,
therefore, may not be reflected in the available balance. Some deposits made in a branch or ATM
may not be immediately available for withdrawal or to cover other transactions.

Please do not reply to this automated email. Sign on fo send a secure email.

You are receiving this alert because you are an online banking cusfomer. To modify or cancel your
alerts, please sign on to Manage Alerts. Carrier message and data rates may apply.

d7249666-b085-4f7b-b34e-0b1554e3cd93

 

 
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 69 of 99 PagelD 75

EXHIBIT Q
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 70 of 99 PagelD 76

From: Wells Fargo Online <alerts@notify.wellsfargo.com>
To: KELLYMAC279 <KELLYMAC279@AOL.COM>
Subject: Wells Fargo insufficient funds notice
Date: Tue, Oct 22, 2019 2:52 pm

 

Insufficient funds notice

On 10/21/2019 your available balance for your Wells Fargo account XXXXXXXXXe4#wWas
insufficient to cover the following transactions.

Transaction Description Amount Action Fee

 

 

WF LOAN/LINE AUTO PAY 191018

858575694400001 MCMILLEN KELLY 685 $247.03 RETURNED — $35.00

Total Fee(s): $35.00

If you have already taken care of this overdraft, thank you. !f not, please follow the steps below to ,
determine how much you need to deposit.

1. Review your current available balance. it can be obtained 24 hours a day, 7 days a week
through your Online Banking, any Wells Fargo ATM, or by calling Wells Fargo Phone
Bank® at 1-800-869-3557.

2. Take into account

° Your pending transactions and any additional transactions that have not yet been
deducted from your available balance, such as checks you have written (if your
account allows check writing) or upcoming scheduled automatic payments.

° Transactions that have been returned because you did not have enough money in
your account at that time; they may be resubmitted for payment by the person or party
who received the payment from you.

3. Deposit enough money to establish and maintain a positive account balance.

4. Consider other opticnal services to help you manage your account and avoid overdrafts or
declined debit card purchases:

e Online, Mobile, and Text Banking — set up low balance alerts, transfer funds, and
monitor account activity.

° Overdraft Protection - link your eligible Wells Fargo savings account, credit card, or
line of credit to your checking account.

Please note, in the event this overdraft is not resolved after 60 days from the date the account first
became overdrawn, we will close and charge off your account. The closure will be reported to Early
Warning Services. We reserve the right to close and/or charge-off your account at an earlier date, as
permitted by law. The laws of some states require us to inform you that this communication is an
attempt to collect a debt and that any information obtained will be used for that purpose.

Call Wells Fargo Phone Bank®™ at 1-800-869-3557 or write to Wells Fargo Bank, N.A., P.O. Box
2908, PHOENIX, AZ 85602-2908 if you have questions or need help.

 

wellsfargo.com | Security Center

Please do not reply to this automated email. Sign on to send a secure email.
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 71 of 99 PagelD 77

2142c2-824-aaee-Sb63ff7ef-a2658bb2_5daf3808_d0e7-19cd4

 
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EXHIBIT R
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 73 of 99 PagelD 79

WELLS FARGO CARD SERVICES

WELLS P.O. BOX 10347
FARGO. DES MOINES, IA 50306
October 22, 2019

of ot ame ee ee ee re

KELLY S MCMILLEN
906 MYAKKA CT NE
ST PETERSBURG FL 33702-2792 ozia

AD0084586

Voge Q PETE pep Hye dped ely Lt plee dg fSy Hag Apes fy plop AES LY

Subject: Immediate payment needed for your credit card account
Current Balance: $6,751.66

Amount Due: $568.00

Amount Past Due: $340.00

Dear Kelly S Memillen:

We want to remind you that your credit card account ending in 2480 is past due, and is at risk of being
closed. Please pay the amount past due right away, or call us at the number below to discuss additional
payment options that may be available to you.

To make your payment
Senda minimum payment of $340.00 today in one of the following ways.

* Online: www.wellsfargo.com, or on your mobile device at www.wf.com
* By phone: 1-800-988-8019 at the times listed below
* By mail: Wells Fargo Card Services, PO Box 51193, Los Angeles, CA 90051-5493

If you've already made other arrangements to pay your credit card, thank you.
If your account is closed

* You will permanently lose charging privileges.

* You will still be responsible for paying the outstanding balance due on your credit card.

* [f you are enrolled in the Wells Fargo Rewards® program, all rewards balances for this account
will be forfeited.

* Tf you have automatic bill pay or overdraft protection set up for this account, these services will
no longer be available.

* Wells Fargo reports account statuses to the major credit reporting agencies including
delinquency and involuntary closures.

NOTICE SEE REVERSE SIDE FOR IMPORTANT INFORMATION

FDDPSJOB 34599257.3 5596 5299 1000 2000 CC 2.07 2605 zbigrozz FC 0301 PG 10F 1 A0CB84586
QUAD UU ETAT UDA EA

Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 74 of 99 PagelD 80

We're here to help
We're here to work with you. If you have questions or want to discuss repayment options, please call us
at 1-800-988-8019. We are available to assist you:

* Monday through Thursday from 7:00 a.m. to 10:00 p.m. Central Time

* Friday from 7:00 a.m. to 7:00 p.m. Central Time

* Saturday and Sunday from 8:00 a.m. to 4:30 p.m. Central Time

For customers with hearing or speech disabilities, we accept telecommunications relay service calls.
Thank you.
Wells Fargo Card Services

The laws of some states require us to inform you that this communication is an attempt to collect a
debt and that any information obtained will be used for that purpose.
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 75 of 99 PagelD 81

EXHIBIT S
WELLS FARGO

VISA

Account Number
Staternent Billing Period
Page 1 of 2

Balance Summary

Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20

Ending in 2480
09/21/2019 to 10/22/2019

24-Hour Customer Service:

Page 76 of 99 PagelD 82

 

 

Previous Balance $8,591.59 TTY for Hearing/Spesch Impaired t 800-419-2268
red: -800-
~ Payments $0.00 | Gutsige the US Cal Collect. 1-925-825-7600
~ Other Credits $0.00 Walls Fargo Online®: wellsfargo.com
+ Cash Advances $0.00
+ Purchases, Balance Transfers & $0.00
Other Charges Send General Inquiries To:
+ Fees Charged $37.00 | PO Box 10347, Des Moines |A, 50306-0347
+ Interest Charged $123.07
= New Balance $6,751.66
Total Credit Limit $6,500 Total Available Credit : $0
Payment Information
New Balance $6,751.68  SendPaymentsTo:
Minimum Payment $568.00 PO Box 77053, Minneapolis MN, 65480-7753
~ (Includes Past Due Amount of $340.00)
8 Overlimit Amount $251.66
Total Amount Due $819.66
Payment Due Date 1116/2019

Late Payment Warning; If we do not receive your Minimum Payment by 11/16/2019, you may have to pay a late fee up to $37.

Minimum Payment Waming: if you make only the minimum payment each period, you will pay more In interest and it will take you longer to pay aff your
balance. For example:

 

If you make no additional charges using
this card and each month you pay ...

You will pay off the New Balance shown on
this statement in about ...

And you will end up paying an
estimated total of ...

 

 

 

 

Only the minimum payment 20 years $16,586
$9,165
$255 3 years (Savings of $7,421)

 

 

 

If you would like information about credit counseling services, refer to www.usdaj.gov/ustleo/bapcpa/ccde/cc_approved.htm or call

1-877-285-2108.

 

Important Information

PAST DUE, PLEASE CALL 800-988-8019, VISIT WELLSFARGO.COM OR WF.COM ON
MOBILE DEVICES FOR PAYMENT OPTIONS. THIS IS AN ATTEMPT TO COLLECT A
DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

 

Go Far Rewards Summary
Rewards balance as of 09/30/2019 Is 0

The rewards balance is for Rewards ID 60006335198.
This balance may be inclusive of other contributing rewards accounts. For up-to-date rewards balance information, or more ways to
earn and redeem your rewards, visit GoFarRewards.wi.com or call 1-877-517-1358,

 

Transactions

 

Trans Post Reference Number Description Credits Charges
Fees Charged
1016 10/16 LATE FEE 37.00
TOTAL FEES GHARGED FOR THIS PERIOD $37.00
NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION ABOUT YOUR ACCOUNT Continued ‘mp
5596 0013 YKS 1 7 16 191022 0 X PASE 1 of 2 10 5299 1000 WOHJ O1DPS&96 341817

Detach and mail with check payable to Wells Fargo. For faster processing, include your account number on your check. .

O06 751LL0001L50000005b6004072e210297 7224 80b

KELLY S MCMILLEN
906 MYAKKA CT NE
ST PETERSBURG FL 33702-2792

341817
MSP (2018

Date eb alee ele

 

Account Number

4072 2102 9772 2480

New Balance $6,751.66

Minimum Payment . $568.00
(Includes Past Due Amount of $340.00)

Overlimit Amount $251.66

Total Amount Due $819.66

Payment Due Date 11/16/2019

Amount
Enclosed

 

 

WELLS FARGO CARD SERVICES

PO BOX 77053

YKG
125

MINNEAPOLIS MN 55480-7753
V0 peTaDppabpelp fal [Ly pfudag) | adacdsg |] pe fyprafs [Evangel
ree tere TH NEETU ]

Check here and see reverse for address and/or phone number correction.
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 77 of 99 PagelD 83

HIM AM UVEUGMD VOUT CRUSTED) EY TTT

IMPORTANT INFORMATION ABOUT YOUR ACCOUNT

Billing Rights Summary. if you believe your bill is wrong (an “Errar’), or if you need more information about a transaction on your bill, write to us on a separate
sheet of paper as soon as possible at: P.O. Box 522, Des Moines, [A $0306-0522. We must hear from you no later than 60 days after we sent you the first bill
on which the Error appeared. You may notify us using other means (Including calling us at the number listed on the front of the statement), but doing so will not
preserve your rights.

In your letter (a “Written Notice”), provide the following information:

+ Your name and account number.

»* The dollar amount of the suspected Error.

+ Description of the Error and why you believe there is an Error. If you need more information, please describe the ifern you are not sure about.

You do not have to pay any alleged Error amount while we are investigating, but you are still obligated to pay the parts of your bill that are not parl of the alleged
Error amount. While we investigate, we cannot report you as delinquent or take any action to collect the alleged Error amount. If you have authorized us to pay
your credit card bill automatically from your savings or checking account, you can stop the payment on any amount you believe is an Error. To stop the payment,
your Written Notice must reach us three (3) business days before the automatic payment is scheduled to occur.

Special Rule for Credit Card Purchases: If you have a problem with the quality of goods or services you purchased with a credit card, and you have tried In good
faith to correct the problem with the merchant, you may not have to pay the remaining amount due on the goods or services. You have this protection only when
the purchase price was more than $50 and the purchase was made in your home state or within 160 miles of your mailing address and you have not pald the
balance of the disputed charge. If we own or operate the merchant, or if we mailed you the advertisement for the property or services, all purchases are covered
regardless of amount or location of purchase.

Credit Information. NOTICE: We may furnish information about your account to consumer reporting agencies. You have the righi to dispute the accuracy of

information. that we have reported by writing to us at.P.O. Box-14517, Des Moines, 1A 50306-3517 and describing the specific information that is inaccurate or in _

dispute and the basis for any dispute with supporting documentation. In the case of information that you believe relates to an fdentity theft you will need to provide
us with an identify theft report.

Payments, “Conforming Payments” are payments mailed using the enclosed payment coupon to the payment address specifled on the statement or, generally,
made via the “Transfers” tab or “Make a Payment” Jink on the credit card Account Activity tab of Wells Fargo Online Banking at “hitp:/Avww.wellsfargo.com”.
Conforming Payments received via mail by 5:00 p.m. will be credited as of the date of receipt. Conforming Payments received after 5:00 p.m. will be credited as
of the next day. Cutoff times for Conforming Payments made via our Website will be disclosed at the time of the transaction. “Non-Conforming Payments” are
payments made by any other means and may not receive credit for up to five days after the date of recelpt. Non-Conforming payments include, but are not limited
to, payments by certified mail, FedEx or UPS, or envelopes addressed illegibly.

Notice About Electronic Check Conversion: When you provide a check as payment, you authorize us either to use information from your check to make a one-time
electronic fund transfer from your account or to process the payment as a check transaction. When we use information from your check to make an electronic
fund transfer, funds may be withdrawn from your account as soon as the same day we receive your payment, and you will not receive your check back from your
financial institution.

Payment in Full for Less Than Account Balance Request If you intend to pay your account in full with an amount less than the total owed on your account, you
must send your request to us at: P.O. Box 10311, Des Moines, IA 50306-0311. Such payments will not discharge your full debt.

How We Calculate Your Balance. We use a method called “average daily balance (including new transactions)”. For more information regarding this calculation,
please refer to your Credit Card Account Agreement or call our toll-free Customer Service number located on the front of this statement.

How to Avoid Paying Interest on Purchases. Your Payment Due Date is at least 25 days after the close of each billing period. We will not charge you interest
on purchases if you pay your entire balance by the due date each month. We will begin charging interest on cash advances and balance transfers on the
transaction date.

Secured Accounts. For Secured accounts, your credit card account is secured by a pledge of your Secured Card Coltateral Account with Wells Fargo Bank, N.A.,
established in connection with your application for the card. You agree that this pledge includes and gives the right io Bank to redeem, collect and withdraw any
part or the full amount of the Secured Card Collateral Account upon any default under your Secured credit card agreement, or in the event your Secured credit
card agreement Is terminated by Bank for any reason. This pledge is given as a security interest for any and all amounts you owe, including interest, fees and
costs which may accrue under your Secured credit card account. You agree that if your Secured credit card account is ctosed for any reason, the bank may apply
funds in the Secured Card Collateral Account to pay off any balance on the credit card account. If there are still funds remaining in the Collateral Account after
doing so, these funds may remain on deposit for up to 60 days before being remitted to you.

Customer Service Monitoring. Calls may be recorded or monitored.
O1DP5596 — 11 — 06/01/2019
© 2019 Wells Fargo Bank, N.A. All rights reserved. IHA-6492803

Change of Address Form — if your address has changed, provide your complete new address below. Be sure to check box on reverse side of coupon and
enclose in the envelope provided. Please use this section only for address changes. If you have any questions, please call the tol-free customer service number
on the front of this statement.

ACCOUNT
FIRST ACCQUNT
NAME NAME

 

NEW
STREET
ADDRESS

 

PO BOX/
APT #

 

CITY,
STATE/ZIP

 

HOME WORK
PHONE PHONE

 
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20

WELLS FARGO

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WELLS
bYANS(e(0]
VISA Account Number Ending in 2480 . ;
Statement Billing Period 09/21/2019 to 10/22/2019
Page 2 of 2
Transactions (Continued...)
Trans Post Reference Number Description Credits Charges
Interest Charged
INTEREST CHARGE ON PURCHASES 0.26
INTEREST CHARGE ON CASH ADVANGES 122.84
TOTAL INTEREST CHARGED FOR THIS PERIOD $123.07
2019 Totals Year-to-Date
TOTAL FEES CHARGED IN 2019 $149.00
TOTAL INTEREST CHARGED IN 2019 $991.33
.
s Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
. Days in
Annual Percentage Balance Subject to sate
Type of Balance Rate (APR) Interest Rate Billing Interest Charge
Cycle
PURCHASES 10.99% $27.12 32 $0.28
OVERDRAFT ADVANGE : 21.15% $204.08 32 $3.78
CASH ADVANCES 21.15% $6,419.80 32 $119.03”
j _
5596 0013 YKG 1 7 14 191022 @ X PAGE 2 of 2 120 5299 1000 WOMJ O2DP5596 341317
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 79 of 99 PagelD 85

EXHIBIT T
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 80 of 99 PagelID 86

- DIGEARD'S-CARD SERVICES
Lore PO BOX 5132
SIOUX FALLS, SD 57117-5132

October 23, 2019

KELLY MCMILLEN
906 MYAKKA CT NE
ST PETERSBURG FL 33702-2792 beto

400034927

Subject: Maximize your financial goals with Wells Fargo Bank
Dillard's account ending ins 2970"

Payoff Balance: $1,484.37

Total Due amount: $181.00

Dear Kelly Memillen:

Wells Fargo cares about your financial well-being and would like to partner with you to
customize a solution to reach your financial goals,

We have several unique programs that may fit your specific financial situation. Have one of
our specialists assist in reaching your goals today! .

We are offering special programs such as:
- Exceptional discounts and savings on your existing balance
- Repayment plans specific to your financial needs
- And More!

Our team is committed to finding the optimal plan that best fits your financial needs,
Let us assist you today at 1-855-205-8624 Monday through Friday 7:00 a.m. to 9:00 p.m., and
Saturday and Sunday 7:00 a.m. to 4:00 p.m. Central Time. For customers with hearing or

speech disabilities, we accept telecommunications relay service calls.

Pay over the phone with no additional cost to reach the next stage of your financial goals
today.

FDOPSJOB 34610214.3 5685 6529 7000 2000 CC 2 07 2643 20191025 FC D436 PG 1 OF 1 400034927
TIN TY AL EROERN UDO UTE TUE CQ MEAD OE YA CT

Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 81 of 99 PagelD 87

It is quick and easy to make a payment online 24 hours a day, 7 days a week by accessing
www.dillards.com/payonline.

Si necesita asistencia en espafiol llame al 1-855-205-8624,

Thank you.
Wells Fargo Bank, N.A. Collections Team

The laws of some states require us to inform you that this communication is an attempt to
collect a debt and that any information obtained will be used for that purpose.

This communication is intended solely for the individuals to whom it is addressed.
Commercial and/or mass distribution or reproduction of the content, in whole or in part, of
this letter including the proprietary company logo is strictly prohibited.

The Internal Revenue Service (IRS) requires financial institutions to annually report to the
IRS discharges of debt in the amount of $600 or greater. If you accept the settlement offer

and it results in a discharge of $600 or more of the principal balance due on your account, we
may be required to report that amount to the IRS, Please contact your tax advisor with any
questions. :

"If-you do agree to a settlement, it is considered a final resolution arrangement on your
account. Failure to execute on this arrangement as noted above may result in your account
being charged off, regardless of account status.”
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EXHIBIT U
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 83 of 99 PagelD 89

Dillard’s

ELITE

 

Account Number 3777 170207 62070 Visit us at www.dillards.com/payonline
Billing Cycle 09/23/2019 to 10/23/2019 Customer Service: 1-866-838-0637

 

Mans Pea

 

' Summaty of Account Activity a , Le ae i p Dy 1
Previous Balance § 1,371.16 New Balance $ 1,434.37 |

 

 

 

 

 

   
     
      

    

 

      

 

 

 

 

 

Payments -$ 0,00 Past Due Amount § 103.00
Other Credits -$ 0.00 Total Minimum Payment Due $ 181,00
Purchases/Debits +5 0.00 Payment Due Date 11/17/2019
Cash Advances +$ 0.00 Late Payment Warning: If we do not receive your minimum payment by
Fees Charged +5 35.00 the Payment Due Date listed above, you may have to pay up to a $35 late
Interest Charged +§ 23.21 fee.
New Balance § 1,434.37 Minimum Payment Warning: If you make only the minimum payment
each period, you will pay more eln interest and it will take you longer to pay
Credit Limit . $9,500.00 eee) : co ar PrN asls ra
Available Credit $8,065.00 res usingthis.card NewBalance Senn a ean ae up 7
Cash Limit $1,900.00 SP Per ven RCM crac 1h 4 nia aul oe ounae
Available Cash $ 1,900.00 en yn 7 about. 7 ..- es an
Statement Closing Date , 10/23/2019 Only the minimum
Days in Billing Cycle 31 : ” pay ent | 5 years $2,445
ru ae . = ee . ‘Ifyou would like information about credit counseling services, refer to
CEC 1 ee www. usdoj -gov/ust/eo/bapcpa/ecde/cc_ approved. htm or call
Previous Balance 306 1-866-484-6322.
Bonus Rewards Points Earned oO 0
Rewards Points Earned This Statement / . 0
Rewards Points Redeemed 0
New Rewards Points Balance . 306

Progress To Your Next Reward

 

Oo 300 600 g00 - 1200 ~ 1500

 

 

    

Secu CL an r , ;
Enjoy your Dillard’s Elite Card and all it has to offer -
exclusive store events and savings.
Remember, every time you use your Card, you'll earn
Rewards Points on your Net Purchases (purchases minus
returns and adjustments) toward your choice of Reward.

Reminder: Your credit card account may not be paid ahead to avoid making payments in future billing periods. You may pay more than the Minimum Payment
Due at any time. However, to avoid! late fees and delinquency we must receive at least the Minimum Payment Due (as reflected on each monthly statement) on
or before the Payment Due Date each billing period until your balance is zero. :

We accept Telecommunications Relay Services’ Calls...

WE HAVE NOT YET RECEIVED YOUR PAYMENT. IF _
NEEDED, PLEASE CONTACT US AT 1-855-515-5489 TO
MAKE ARRANGEMENTS. THIS IS AN ATTEMPT TO
COLLECT A DEBT:AND ANY INFORMATION OBTAINED
WILL BE USED FOR THAT PURPOSE.

 

 

 

are wt, es aera 2 es = ra oe a as ae eer 5
Trans Date Post Date Reference Number — . Description of Transaction or Credit

 

one - _ Be | aa LATE FEE. a
; Continued on next page’ ~

This credit card program ts issued and administered by Wells Fargo Bank, N.A., pursuant to a license from American Express. American Express i isa federally
registered service mark of American Express.

PAYMENT DUE BY 5 P.M. LOCAL TIME ON THE DUE DATE
NOTICE: We may convert your payment into an electronic debit. See reverse side for Billing Rights information and other important information.
5685 0099 JVH 3 7 15 191023 DPAGE 1 of 3 1a 6329 :7000 E012 OLAES685-. _ 38257.

__ Please return bottom portion with your payment. We must receive payment by the Payment Due Date. Do not send cash. Retain upper portion for your records. - ;

Dillard’ _ Account Number . . _ 3777170207 62070
wat 5 . New Balance . LO, $ 1,434.37
ELITE Total Minimum Payment Due . $181.00

Payment Due Date 11/17/2019
QE UAE VM CUT EEE COCOA TETT CP

Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 84 of 99 PagelD 90

 

IMPORTANT INFORMATION ABOUT YOUR ACCOUNT

PAYMENT INSTRUCTIONS. Follow these instructions when making a payment:

« Make your payment in U.S. dollars, but do not send cash.

» If you make a payment by mail, please include the Payment Stub with your payment. Use the envelope enclosed, with your statement to.mail both documents
to the Payment Address. Payments received by 5:00 p.m. local time at the Payment ‘Address will be credited as of the date of receipt. Payments received
after the 5:00 p.m. cut-off time will be credited as of the next day.

"+ if you make a payment oniine, it must be made via Dillard's website, which is shown on your statement. The cut-off time for online payments will be

disclosed at the time of the transaction.

+ You also can make a payment at a Dillard’s store. Payments received at the Dillard's store location where payment is made will be credited as of the date
of receipt.

If you do not follow these instructions, your payments may not receive credit for up fo five days after we receive it. You may at any time pay, in whole or in
part, the Outstanding Balance without any additional charge for prepayment.

PAYMENT ADDRESS. Please mail your payment payable to Wells Fargo Bank, N.A. to the Payment Address listed on your Payment Stub or to:

Lockbox Services 77053, Attn: WF Consumer Credit Card, 18014 Parkview Drive, 1* Floor, Shoreview, MN 55126.

CREDIT INFORMATION. IMPORTANT NOTICE: We may report information about your account to credit bureaus and/or consumer reporting agencies. Late

payments, missed payments, or other defaults on your account may be reflected in your credit report and/or consumer report. You have the right to dispute
the accuracy of information that we have reported by writing to us at Wells Fargo Bank, N.A., P.O, Box 14517, Des Moines, IA 50306. Please include your

:--aecount number and a description.of the specifi¢.information,that is inaccurate or in dispute and the basis for any.dispute with supporting documentation. In:
“she case of information that: ‘you believe relates to an identity theft, you will need to provide us with an identity theft report:

ELECTRONIC CHECK CONVERSION. When you provide a check as payment, you authorize us either to use inforrnation from your check to make a one-
time electronic fund transfer from your account or to process the payment as a check transaction. When we use information from your check to make an
electronic fund transfer, funds may be withdrawn from your account as soon as the same- > day we receive your payment, and you will not receive your check
back from your financial institution.

PHONE MONITORING. We may monitor-and record your phone calls with us.
Send General inquirles To: PO Box 10347, Des Moines, 1A 50306-0347.

' What To Do If You Think You Find A Mistake on Your Statement: If you think there is an error on your statement, write to us‘on aiseparate sheet at:

Dillard's Card ServicesAVells Fargo Bank, N.A., P.O. Box 622, Des Moinas, IA 50306-0522...

In your fetter, give us the following information:
’ Account information: Your name and account number. .
. Bollar amount: The dollar amount of the suspected error.
-  Deseriotion of problem: If you think there is an error on your bill, deseribe what you believe is wrong and why you believe it is a mistake.

You must contact us within 60 days after the error appeared on your statement. You must notify us of any potertial errors in writing. You may call us, but if
you do we are not required to investigate any potential errors and you may have to pay the amount in question.

While we investigate whether or not there has been an error, the following are true: We cannot try to.collect the amount in question, or report you as delinquent
on that amount. The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that
_We made a mistake, you will not have to pay the amount in question or any interest or other fees related to that amount. While you do not have to pay the

7 amount in question, you are responsible for the. remaind er ‘of Your. balahee. We-can apply ¢ any: unpaid amount against: your credit limit
Your Rights If You Are Dissatisfied With Your’ Credit Card Purchases: If you are dissatisfied with the goods or services that you have purchased with your

credit card, and you have tried in.good faith to.correct the problem. with fhe merchant, “you may, | have the right not to pay the remaining amount due on the |
purchase. To use this right, all of the following must'be true:
4. The purchase must have been made in your home state or within 100 miles of your “current malling address, and the purchase price must have
been more than $50. (Note: Neither of these are necessary if your purchase was based on an advertisement we mailed to you, or if we own the
company that sold you the goods or services.) .
2. You must have used your credit card for the purchase, Purchases made with cash advances from an ATM or with a check that accesses your
credit card account do not qualify.
3. You must not yet have fully paid for the purchase.

If all of the criteria above are met and you are still dissatisfied wilh the purchase, contact us in writing on a separate sheet at: Dillard's Card
ServicesWells Fargo Bank, N.A., P.O. Box 522, Des Moines, |A 50306-0522. .

While we investigate, the same rules apply lo the disputed amount as discussed above. After we fi nish our investigation, we will tell you our decision, At that
point, if we think you owe an amount and you do not pay, we may report you as delinquent.

 

OTAES5685 - 12 - 09/01/2018

Change of Address Form — If your address has changed, provide your complete new address below. Be sure to check box on reverse side of .
coupon and enclose in the envelope provided. Please use this section only for address changes. If you have any questions, please call the toll-
free customer service number on the front of.this statement.

ACCOUNT AGCOUNT
FIRST LAST
NAME

NEW
STREET
ADDRESS

 

PO BOX/
APT #

PERLE NEN EE EEE LEON TONNES ENE TELE SEEN EE NL LDN NCR SSSA COE NEES SELENE ENTE ALONE ENE MEDION

 

CITY,
STATE/ZIP

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Case 8:20-cv- 00275- WE J- AAS Document 1-1 Filed 02/05/20 Page 85 of 99 ages 91

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Point. Click. Done. Switch to Paperless Statements Today!
@ Make online payments from any computer’ a
® Set up recurring automatic payments
@ Track your rewards points to see how close Increased Security Reduced Clutter . Easy Access
you are to your next reward Paperless statements Have less paper Your past statements
. . can help reduce the to recycle and stay _ are available online?
Enroll today at dillards.com/payoniine. risk of fraud. more organized

1 Petre an to enroll using a mobile device, you may find it more CSU es Rema oe tee prea Pletee cata . _ * t)
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require a POF viewer such as Adobe® Reddar? td road PDF file. 7
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‘Transactions (continued) ,

 

Trans Date Post Date Reference Number - : Description of Transaction or Credit
ere , a ae 7 _ ;
ee TOTAL FEES FOR THIS PERIOD °
CS oss ae ee eee es .
10/23, 10/23 ms oak INTEREST CHARGE ON PURCHASES | $28.21
10/23 10/23 ms, _ INTEREST CHARGE ON CASH ADVANCES . $0.00
+ TOTAL INTEREST FOR THIS PERIOD $28.21

 

* 2019 Totals Year-To-Date _ ol

Total fees charged in 201 9 $60.00
Total interest charged in 2019 $223.71

 

Cone eee ee ea

Your Annual Percentage Rate (APR) i is the anntal i interest rate on your account.

Type of Balance Annual Balance Interest
Percentage Subject to Charge
Rate (APR) Interest Rate

Current Transactions

CASH ADVANCE(S) 28.99% (v) $0.00 $0.00

 

REGULAR 23.99% (v) $1,384.76 $28.21
{v) = Variable Rate

See reverse side of the second page for an explanation of how the Balance Subject to
Interest Rate for each Type of Balance was computed and an explanation of how to
avoid additional interest charges.

 
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Case 8:20-cv-00275-WEJ-AAS Document 1-1 Filed 02/05/20 Page 86 of 99 Pagelp 92

PA ING INTEREST. Ws will begin charging’ interest ‘ona: cash: advance: on the. date the. cash. “advance posts to your, Account,

  

If either “CLUB PLAN” of “CLUB PLAN ‘tom or“CLUB PLAN 24” is ‘indicated i in the’ INTEREST CHARGE CALCULATION : section of your statement,
there will be no interest charge on the balance.

 

HOW: WE CALCULATE THE. ‘AVERAGE DAILY BALANCE (“ADB”), - . 1 a
The ADB for each type of balance is calculated separately, starting with the begiinig balance on the first cay of each ‘Billing Cyd. The begining
balance on tha first day of the Billing Cycle includes the following: :
<=: *.The.prior.Billing Cycle’s ending balance, which includes: arly unpaid fees posted: to your Account i in ‘the prior. Billing Cyole (if applicable).

* Any late payment feas posted in the current Billing Cycle that are related to a late payment in the prior Billing Cycle (if applicable). /
We take.the beginning: balance each day and add dny new purchasas and cash advances. Except fof the first day of each Billing Cycle, we then add
interest equal ta the previous day’s balance multiplied by the daily periodic rate. (This means interest is ‘compounded daily:} Then; we subtract any
payments or credits. This gives us the daily balance. Any daily balance that is a credit balance will be treated as zero. Then, we add up all the daily
balances for the Billing Cycle. We divide this amount by the number of days in the Billing Cycle. This gives us the ADB.

OM568588 - 11/03/14

5685 0009 JvH 3 7 3 191023 0 B.PAGE 3 of 3 10 6329 700¢ E012 DI1AE5685 38257
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EXHIBIT V
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 88 of 99 PagelD 94

From: Wells Fargo Online <alerts@notify wellsfargo.com>
To: KELLYMAC279 <KELLYMAC27S@AOL.COM>
Subject: Your Wells Fargo account has reached zero dollars
Date: Fri, Oct 25, 2019 7:36 am

 

Your available balance has reached or dropped below zero

The available balance for your account XXXXXXXX#6#4Fhas reached or dropped below zero

dollars,
Ending Balance _ $2.76
Available balance -$2.76

This information is accurate as of 10/25/2019 01:55 am Eastern Time. For your most current balance
and more account details, sign on and select your account.

To quickly and easily move money between your Wells Fargo accounts or between your Wells Fargo
accounts and accounts at other institutions, sign on and go to Transfer & Pay.

if you have questions, Wells Fargo Customer Service is available 24 hours a day, 7 days a week at 1-
800-869-3557, or contact us by secure email.

 

wellsfargo.com | Security Center

Note about balances: Ending balance reflects transactions that have posted to your account and does
not reflect pending deposits or withdrawals. The available balance is an indication of funds that are
available to you today; however, it may not reflect ail transactions that you may have initiated or
authorized.

Available Balance - This is the amount of money you have in your account that is available for
withdrawal. It reflects the latest balance based on transactions posted to your account, including
deposited funds, paid checks (if your account allows check writing), withdrawals, and purchases
made with your ATM, debit, or prepaid card. Note that some transaction activity (such as outstanding
checks and some debit/prepaid card purchases) may take several days to post to your account and,
therefore, may not be reflected in the available balance. Some deposits made in a branch or ATM
may not be immediately available for withdrawal or to cover other transactions.

Please do not reply to this automated email. Sign on to send a secure email.

You are receiving this alert because you are an online banking customer. To modify or cance} your
alerts, please sign on to Manage Alerts. Carrier message and data rates may apply.

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 89 of 99 PagelD 95

EXHIBIT W
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 90 of 99 PagelD 96

From: Wells Fargo Online <alerts@notify.wellsfargo.com>
To: KELLYMAC279 <KELLYMAC279@AOL.COM>
Subject: Wells Fargo insufficient funds notice
Date: Fri, Oct 25, 2019 2:13 pm

 

Seer c notte aeeeee somes 7 Ty TOIT

Insufficient funds notice

On 10/24/2019 your available balance for your Wells Fargo account XXXXXXXXX6444iwas
insufficient to cover the following transactions.

Transaction Description Amount Action

 

WF LOAN/LINE RETRY PYMT 191018 858575694400001

MCMILLEN KELLY 685 $247.03 RETURNED

If you have already taken care of this overdraft, thank you. If not, please follow the steps below to
determine how much you need to deposit.

1. Review your current available balance. It can be obtained 24 hours a day, 7 days a week
through your Online Banking, any Wells Fargo ATM, or by calling Wells Fargo Phone
Bank®™ at 1-800-869-3557.

2. Take into account

e Your pending transactions and any additional transactions that have not yet been
deducted from your available balance, such as checks you have written (if your
account allows check writing) or upcoming scheduled automatic payments.

e Transactions that have been retumed because you did not have enough money in
your account at that time; they may be resubmitted for payment by the person or party
who received the payment from you.

3. Deposit enough money to esiablish and maintain a positive account balance.

4. Consider other optional services to help you manage your account and avoid overdrafts or
dectined debit card purchases:

° Online, Mobile, and Text Banking — set up low balance alerts, transfer funds, and
monitor account activity.

° Overdraft Protection - link your eligible Wells Fargo savings account, credit card, or
line of credit to your checking account.

Please note, in the event this overdraft is not resolved after 60 days from the date the account first
became overdrawn, we will close and charge off your account. The closure will be reported to Early
Warning Services. We reserve the right to close and/or charge-off your account at an earlier date, as
permitted by law. The laws of some states require us to inform you that this communication is an
attempt to collect a debt and that any information obtained will be used for that purpose.

Call Wells Fargo Phone Bank®™ at 1-800-869-3557 or write to Wells Fargo Bank, N.A., P.O. Box
2908, PHOENIX, AZ 85602-2908 if you have questions or need help.

 

wellsfargo.com { Security Center

Please do not reply to this automated email. Sign on to send a secure email.

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EXHIBIT X
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 92 of 99 PagelD 98

From: Wells Fargo Online <alerts@notify.wellsfargo.com>
To: KELLYMAC279 <KELLYMAC279@AOL.COM>
Subject: Your Wells Fargo account has reached zero dollars
Date: Fri, Nov 1, 2019 7:38 am

 

 

 

Your available balance has reached or dropped below zero

The available balance for your account Way2Save has reached or dropped below zero dollars.

Ending Balance ~ -$5.00
Available balance -$5.00

This information is accurate as of 11/01/2019 01:56 am Eastern Time. For your most current balance
and more account details, sign on and select your account.

To quickly and easily move money between your Wells Fargo accounts or between your Wells Fargo
accounts and accounts at other institutions, sign on and go to Transfer & Pay.

If you have questions, Wells Fargo Customer Service is available 24 hours a day, 7 days a week at 1-
800-869-3557, or contact us by secure email.

 

wellsfarqgo.com {| Security Center

Note about balances: Ending balance reflects transactions that have posted to your account and does
not reflect pending deposits or withdrawals. The available balance is an indication of funds that are
available to you today; however, it may not reflect all transactions that you may have initiated or
authorized.

Available Balance - This is the amount of money you have in your account that is available for
withdrawal. It reflects the latest balance based on transactions posted to your account, including
deposited funds, paid checks (if your account allows check writing), withdrawals, and purchases
made with your ATM, debit, or prepaid card. Note that some transaction activity (such as outstanding
checks and some debit/prepaid card purchases) may take several days to post to your account and,
therefore, may not be reffected in the available balance. Some deposits made in a branch or ATM
may not be immediately available for withdrawal or to cover other transactions.

Please do not reply to this automated email. Sign on to send a secure email.

You are receiving this alert because you are an online banking customer. To modify or cancel your
alerts, please sign on to Manage Alerts. Carrier message and data rates may apply.

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EXHIBIT Y
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 94 of 99 PagelD 100 .

From: Wells Fargo Online <alerts@notify.wellsfargo.com>
To: KELLYMAC279 <KELLYMAC279@AOL.COM>
Subject: Wells Fargo online statement ready to view
Date: Fri, Nov 1, 2019 8:06 am

 

wellsfargo.com

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Your new statement is now available online

The new statement for your Wells Fargo loan or line of credit XXX-XXX9440 is now available to view online.

To view your statement:

1. Sign on to Statements and Documents.
2. Select Statements and Disclosures.
3. Choose your account from the dropdown menu.

If you have questions about your account, please refer to the contact information on your statement. For
questions about viewing your statements online, Wells Fargo Customer Service is available 24 hours a day, 7
days a week. Call us at 1-800-956-4442 or sign on to send a secure email.

 

welilsfargo.com | Security Center

 

Please do not reply to this automated email. Sign on to send a secure email.

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 95 of 99 PagelD 101

EXHIBIT Z
Case 8 20- “CV- 00275- WFJ-AAS Document 1-1 Filed 02/05/20 Page 96 of 99 PageID 102

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‘Wells Fargo Card Services
PO Box 10347 .

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.Novernber 7, 2019

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KELLY SMCMILLEN RECEIVED
CIOLEAVENLAW |
 39001STSTNSTE100 |. i WOT 280,
” ST PETERSBURG, FL 33703-6109. ps

Subject: Closure of y your reredit card, account ending in: 2480"

‘Balance: $6,751. 66. oo
.. Amount Due: $568.00
. Amount Past Due: $340: oo

Dear Kelly s Memillen:

: we want to let you knowy your credit card account has been closed: becatise past due/ overt: status, To":
help you prepare | for thts change, Please x review the information below: ne

Aboaty your’ ‘dosed account ~ -

Please continue to make at least the minimum ‘nonthly. payment for: any oisstanding balanse You.

"can pay your balance in full. at any time without penalty.

-You'can no longer use this account for purchases ¢ or ‘cash advances, Safely dispate ofa any

. “associated cards. and SUPERCHECKS™. ct

7 account.

*- Any features attached to this ciedit cart, such 2 as wells Fargo. Rewards? or Overdraft Peetion,

shave also. been cancelled, and you are no longer eligible to to redeem any: accumulated rewards. :

- paymeit Options - ne . ne : : ane
if you have not already made: avraigemedts to. pay your account carrent, please pay’ te $340.00 today in in.
one of the following ways: : . . Co bn, coon,

. “Visit v us online at www. siellsfareo.c com | or yout mobile devices aty www. whineaf.com to. make a: piven

online 24 hours a day, 7 days: a week, -
Call us at 1-800- ‘988- 8019, at the times listed below

By maik- .
- Wells Fargo Card Services
PO Box 51193.
Los Angeles, CA 96051-5493

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" Wells Fargo Card Services
PO Box 10347
WEL re Dés Moines, [A 50306

Bee OF

. November 7, 2019

001086 L2TESCI1 1301 FDERC
KELLY S MCMILLEN .
C/O: LEAVEN LAW. :
3900 1ST STNSTE100 -
‘ST PETERSBURG, Fl 33703-81 ag

_ Asunto: Cierre de'su cuenta de tarjeta de crédito.que termina en2480__

Saldo: $6,75166

Monto Adendado: $568:0¢ :00

‘Monto Vencidor $340.00

Hstimado(a), Kelly S Memillen: .

informacién sobre su cuenta cerrada |

Page 97 of 99 PageID 103

. Queremos infortharle: que su éuenta de tarjeta. de crédité ha sido cermada debido s Bu estado sobre ao ;
a limite/vencido, Para ayudarle a prepararse para este cambio, le Tepedimos. que revise la informacién ane
- aparece a continuiacién. . .

-. Contintie realizindo’al menos el pago minimo, ; mienstial cortesponidigite a 5 coalguer saldo-
" pendiente, Usted puede: pagar-sv saldo total en cualquier momento'sin penalidad.

a Usted ya no podra utilizar esta cuenta para Compras: ni. adelantos eri stectivo, ‘Deseche en forma”

+ segura todas las tarjetas y SUPERCHECKS™ asociados.. ”

- Oo trasladarlos a otra cuenta. .

,o

+e ”. Siusted tiene establecidos pagos autométicos dec cuentas sutilizando esia tarjeta, deberd cancelatlos . .

“© También se han cancelado, todas las caractéristicas vineitladas con. esta tarjeta de. exédito;, tales:
como el Programa. de Recompensas Wells Fargo. Rewards® o la Proteccién contra. 2 Sobregiros, y

usted ya no-es 8 elegible para cary ear ninguna recompensa acumalada, ”

‘Opciories de pago,

_ Si:todavia no ha hecho los arreelos para efféctuar el pago para poner su cuenta, al ata, ague boy mismo a.

- $340.00 de una de las sigitientes maneras:

* Visite wellsfargo. coin /spanist oO desde: 51 dispositivo indvill ifigo com mi (en ings) para efsctuar v un -

pago por Internet las 24 horas del dia, los 7 dias de la semana.

». Li4menos al 1-800-988- 8019 (marque 9 para para, recibir ir atecién en nespalio) en. es hovatios - _

“que se indican a continwaci6n. .
* Por correo: ;
Wells Fargo Card Services

PO Box 51193
Los Angeles, CA 90051-5493 -

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Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 98 of 99 PagelD 104

- EXHIBIT AA —
Case 8:20-cv-00275-WFJ-AAS Document 1-1 Filed 02/05/20 Page 99 of 99 PageID 105

From: Wells Fargo Online <alerts@notify.wellsfargo.com>
To: KELLYMAC279 <KELLYMAC279@AOL.COM>
Subject: Wells Fargo Transfer Canceled Due to !nsufficient Funds
Date: Sat, Nov 16, 2019 8:32 pm

 

'  wellsfargo.com

WELLS

FARGO

 

 

Your transfer was canceled due to insufficient funds

We had to cancel the following transfer between your Wells Fargo accounts because the account you weré
transferring from did not have sufficient funds:

Transfer From: XXXXXXXXX6441
Transfer To: XXKXXXXK7914

If you would still like to make this transfer, please verify that sufficient funds are available, and reschedule the
transfer.

If this is a recurring transfer, we will complete the future scheduled transfers based on funds availability at the
time each transfer is scheduled to occur.

If you have questions, we are available 24 hours a day, 7 days a week at 1-800-956-4442 or by secure email.
Sincerely,

Wells Fargo Online Customer Service

 

wellsfargo.com | Security Center
Please do not reply to this email directly. To ensure a prompt and secure response, sign on to email us.

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